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                       Exhibit 16
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                       Countering
                       Count        the Finan
                             ering the        cing
                                        Financing
                       of Terro
                       of       rism
                          Terrorism
                                                                                                Y.




                      Edited by
                      Edited    Thomas J. Bierstek
                             by Thomas             er and
                                          Biersteker  and
                      Sue E. Eckert
                      Sue E. Eckert
                                                                                               11,




                                                                                                if




                           Routledge
                           Taylor &Francis Group
                      L.ONDON AND
                      LONDON      NEWYORK
                              AND NEW YORK



                                                                                         it.

                                                                                         t:
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               iC


                                             charities,
                                  Terrorism, charities,
                                  Terrorism,
                                      diasporas
                                  and diasporas
                                  and
                                  Contrasting  the fundraising
                                  Contrasting the  fundraising
                    *             practices    Hamas and
                                            of Hamas
                                  practices of         and
                                  al Qaeda  among Muslims
                                     Qaeda among    Muslims
                                  in Europe'
                                  in Europe'
                                  Jeroen Gunning
                                  Jeroen Gunning

                          Since 11I
                         since       September, links
                                  11 September,               between "Islamic
                                                      links between                       charities" in
                                                                           "Islamic charities"            in the    West and
                                                                                                              the West       and organi-
                                                                                                                                  organi-
                         Zations
                          zations    categorized
                                    categorized        as
                                                        as  "terrorist"
                                                             "terrorist"     in
                                                                              in   the
                                                                                    the    Middle
                                                                                           Middle      East
                                                                                                        East     have
                                                                                                                  have     come
                                                                                                                           come    under
                                                                                                                                    under
                                    scrutiny.
                          intense scrutiny. Dozens
                         intense                  Dozens      of
                                                             of   charities
                                                                 charities     with
                                                                                with    alleged
                                                                                         alleged    ties
                                                                                                     ties  to
                                                                                                            to  al
                                                                                                                 al Qaeda
                                                                                                                     Qaeda     have
                                                                                                                                have  had
                                                                                                                                       had
                         their
                          their  assets
                                 assets   frozen
                                           frozen     in
                                                       in  an
                                                            an  unprecedented
                                                                 unprecedented            international
                                                                                          international         clampdown
                                                                                                                 clampdown          Most
                                                                                                                                    Most
                                           familymembers
                          prominently, family
                         prominently,                 members of the    the I11   September victims
                                                                               I September           victims havehave sued      six char-
                                                                                                                          sued six  char-
                         ities  and their
                          ities and            subsidiaries in
                                      their subsidiaries        in aa $116
                                                                        $116   trillion
                                                                                trillion    lawsuit
                                                                                             lawsuit    for
                                                                                                         for   their
                                                                                                               their    alleged
                                                                                                                        alleged   role
                                                                                                                                   role  in
                                                                                                                                          in
                                                                           2
                         financing    the   IlI September
                          financing the 11 September attacks.2   attacks.
                                   allegation that
                             The allegation
                             The                    that those                                           violence use
                                                                                           political violence
                                                                      involved inin political
                                                            those involved                                                use charities,
                                                                                                                               charities,
                         or   more
                          or more     broadly
                                       broadly     non-profit
                                                   non-profit       organizations,
                                                                     organizations,          to
                                                                                             to   raise
                                                                                                   raise   or
                                                                                                           or    channel
                                                                                                                 channel       money is
                                                                                                                               money       is
                          not new.
                         not                  Provisional Irish
                                      The Provisional
                                new. The                                Republican Army,
                                                               Irish Republican             Army, the         Palestine Liberation
                                                                                                       the Palestine          Liberation
                          Organization, Hamas,
                         Organization,                     Hezbollah, the
                                               Hamas, Hezbollah,             the Tamil         Tigers, and
                                                                                    Tamil Tigers,                  others have
                                                                                                           and others         have been
                                                                                                                                     been
                                      accused.' The
                          similarly accused.'
                         similarly                   The notion                          "terrorism" by
                                                                          fighting "terrorism"
                                                            notion of fighting                                    targeting charities
                                                                                                             by targeting       charities
                          believed to
                         believed               channeling funds
                                          be channeling
                                      to be                       funds to        those perpetrating
                                                                            to those                                              acts is
                                                                                                                   terroristic acts
                                                                                             perpetrating terroristic                     is
                         similarly well established. What distinguishes the current situation from
                         similarly    well    established.       W~hat     distinguishes          the    current       situation     from
                         previous ones
                         previous     ones is    the increased
                                              is the                 commitment of
                                                       increased commitment                of the     international community,
                                                                                                the international           community,
                         as  embodied      in   United
                         as embodied in United Nations     Nations      Security
                                                                        Security       Council
                                                                                       Council      1373,
                                                                                                     1373,    which      demands that
                                                                                                              which demands           that
                         Member States
                         Member                 "prevent and
                                      States "prevent                suppress the
                                                              and suppress                 financing of
                                                                                     the financing                            acts," and
                                                                                                                terrorist acts,"
                                                                                                           of ter-rorist              and
                               increased use
                         the increased
                         the                 use ofof legally     binding lists
                                                        legally binding        lists to                    accused organizations
                                                                                             blacklist accused
                                                                                        to blacklist                     organizations
                        and
                         and charities.'
                               charities.4
                            What further
                            What                distinguishes the
                                    further distinguishes                              situation isis the
                                                                         current situation
                                                                    the current                               apparently exclusive
                                                                                                        the apparently         exclusive
                         focus of the international community on "Islamic charities," defined
                        focus    of   the    international       community            on    "Islamic       charities,"       defined as as
                         charities involving
                        charities                       predominance of
                                     involving aa predominance                     Muslims in
                                                                              of Muslims              staff and
                                                                                                  in staff            recipients,' and
                                                                                                              and recipients,'        and
                        specifically on
                        specifically     on Islamic                    affiliated with
                                                          chanties affiliated
                                              Islamic charities                        with two       groups: al
                                                                                               two groups:             Qaeda and
                                                                                                                   al Qaeda      and the
                                                                                                                                       the
                        Palestinian      resistance
                        Palestinian resistance          movement
                                                         movement        Hamas.
                                                                         Hamas.        Both
                                                                                       Both     the
                                                                                                the   Bank
                                                                                                      Bank     of England's "Con-
                                                                                                              of    England's     "Con-
                        solidated List
                        solidated     List of     Financial Sanctions
                                             of Financial                       Targets in
                                                                Sanctions Targets                 the UK"
                                                                                              in the    UK" and  and the the European
                                                                                                                              European
                        Union's "List
                        Union's      "List of       Persons and
                                                of Persons               Entities Subject
                                                                 and Entities                         to   Financial
                                                                                         Subject to Financial Sanctions"     Sanctions"~
                        included, at
                        included,                time of
                                          the time
                                       at the                writing, some
                                                         of writing,      some 20                       thought to
                                                                                          charities thought
                                                                                    20 charities                       to bebe affiliated
                                                                                                                               affiliated
                        with al
                        with       Qaeda and affiliates (the number fluctuates somewhat depending on
                                al Qaeda      and    affiliates   (the   number        fluctuates      somewhat         depending       on
                        how one
                        how     one delineates           "chanity"), and
                                      delineates aa "charity"),          and two two with                    links to
                                                                                                 alleged links
                                                                                         with alleged                      Hamas.6 No
                                                                                                                      to Hamas.'       No
                                 charities were
                        other charities                  listed in
                                                were listed            relation to
                                                                  in relation         to non-state         "terrorist-designated"
                                                                                           non-state "terrorist-designated"
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                           Jeroen Gunning
                        94 Jeroen
                         organizations
                         organizations —    - even though both lists included both non-Muslim         non -Muslim and     and
                         Muslim     entities'7
                         Muslim entities
                            Al  Qaeda's inclusion on the list of those using
                            A] Qaeda's                                                   using charitable "fronts""fronts',is   is
                         surprising given claims
                        surprising              claims by by  terrorism
                                                              terrorism    experts
                                                                           experts     and
                                                                                       and   intelligence services
                                                                                             intelligence     services thatthat"
                        most important source                    al-Qaeda's money is its continuous
                                                 source of al-Qaeda's                                continuous fundrai fundrai'-o                                      of
                         efforts" through a worldwide
                        efforts"                   worldwide charitable network.8network!i The inclusion
                                                                                                       inclusion of Hamag  EHayw.                                    .0o11
                                                                                                                                                                  cowl
                        similarly    predictable given the widespread
                         similarly predictable                       widespread belief among intelligence  intelligence sem  servi                                ijth thi
                                    organization raises
                        that the organization                     much of its funding through charitable
                                                        raises much                                                         "frong
                                                                                                            charitable "front;                               ait tt
                                                                                                                                                         Wit,
                                 West.' Even the fact
                         in the West.9
                        in                                fact that only Islamic charitiescharities with aa predomman
                                                                                                                  predominan                           ,Itsistati      Al
                        Islamist disposition —- where "Islamist"                  refers to the political ideology
                                                                   "Islamist" refers                                ideology thj.                       inteuiet
                                                                                                                                                               -f~~clg

                                      Islam as
                         advocates Islam
                        advocates               as the   blueprint for political society —-are
                                                    the blueprint                                    are listed is  is predictabli
                                                                                                                        predictb'                        I cant
                                            Islarnist organization attacked the United
                        given that an Islamist                                                              States and theey
                                                                                                United States                 therehi                            slr
                                                                                                                                                          ip~pJler
                        triggered the "war on terror."  terror."~,~~.~a                                                                 .; 4‘; •g•         fumes.
                                      observation, however,
                           Closer observation,                                          serious question of why, if
                                                                        raises the serious
                                                          however, raises                                                           tb
                                                                                                                                if the".'           :1s against
                                                                                                                                                           against
                        abuse of
                        abuse    of charities
                                    charities is     so widespread,
                                                  is so  widespread, so             charities have been
                                                                          so few charities               been found        guilty of
                                                                                                                 found guilty        of            ~ 4 i dsmrP;
                                                                                                                                                           discrePi
                                                                                                                                           FA
                                                              considering Islamic
                                    terrorism, When considering
                        funding terrorism.                                                               registered in Europe
                                                                                            charities registered
                                                                               Islamic charities                              Eurp •                        Zg~%rtiofla
                                                                                                                                                            zationa
                                                                    internationally from
                                                      operating internationally
                             opposed to those operating
                        (as opposed
                        (as                                                                from non-European             countries, t
                                                                                                   non-European countries,                                  in relati
                                                                                                                                                                    relati
                        such as Saudi Arabia, Somalia, Somalia,      or  Pakistan),
                                                                         Pakistan),     the   divergence
                                                                                              divergence      between
                                                                                                              between       the   view'
                                                                                                                            the view -                              On    titV
                        that ala] Qaeda and Hamas    Hamas raise much of their                "resistance" funds
                                                                                      their "resistance"                    throigh
                                                                                                                  funds through                              to rely rely
                        European-based Islamic charities
                        European-based                       charities and the actual number                   charities iden
                                                                                                number of charities            identi-                       is     typic
                                                                                                                                                             is typic
                        fled by European governments
                        fied                      governments raises           questions about the
                                                                      raises questions                 the true extent of       of the
                                                                                                                                    the 11                    Zationt
                                                                                                                                                             =lion
                                 charities by targeted
                        use of charities                                           Narrowing our focus
                                                                organizations. Narrowing
                                                   targeted organizations.                                 focus to the United United             '           zation'!
                                                                                                                                                              ztiofl't
                        Kingdom (or, more   more      precisely,    England      and    Wales)10
                                                                                        Wales)"   0 and the Netherlands -relatior
                                                                                                                  Netherlands                                 relatior
                        two key European states     states that have been regularly linked with al                      Qaeda and
                                                                                                                   a] Qaeda        and                        the cas'
                                                                                                                                                              th       cs
                                                      activities" —- we fifind
                                   fundraising activities"
                        Hamas fundraising                                      nd that only two charities  charities have been    ben.                        thing
                                                                                                                                                               tinig o0
                       found guilty of funding funding al       Qaeda, only four of having trustees
                                                            a] Qaeda,                                   trustees with        links to
                                                                                                                    with links       to                        iS not I
                                                                                                                                                              is
                        a] Qaeda, and only one of funding Hama&
                       al                                                Hamas.      Of   these,
                                                                                          these,   all  charities
                                                                                                       charities      found     guilty
                                                                                                                                guilty                -'       readily
                                                                                                                                                               readily
                                        terrorism
                        of funding terrorism           are   registered
                                                             registered    in  the   Netherlands."
                                                                                     Netherlands."      2
                                                                                                            This   disjuncture
                                                                                                                   disjuncture         is
                                                                                                                                       is                 I    need to
                                                                                                                                                               need
                       particularly                            evaluating the
                                         striking when evaluating
                       particularly striking                                  the claim that al     a] Qaeda has infiltrated .                  .In       I          In th
                       one-fifth of all Islamic           charities'" —- which, even
                                              Islamic charities13                                              ourselves to the
                                                                                       even if we limit ourselves                   the                        all    fail
                       jurisdictions of EnglandEngland and Wales                         Netherlands, would
                                                                   Wales and the Netherlands,                           amount
                                                                                                                        amount        to     •                 one      wo
                                                                                                                                                                        WO
                       jurisdictions                                                                                                                       .


                                         charities (if the        rough    estimate      that    there    are  in   the    order     of                    ,    relative
                                                                                                                                                                raI       e
                       some 2,000 charities
                       some
                        10,000    Islamic   charities
                                             charities    in  these
                                                              these   two  jurisdictions
                                                                            jurisdictions      is correct)."
                                                                                                  correct)."                                                    explain
                                                                                                                                                                 explain
                       10,000     Islamic
                                                                                     Europe-based charity, admittedly
                                                     expectation, only one Europe-based                                 admittedly                              ideolol
                                                                                                                                                              idoi
                           Contrary to this
                           Contrary          this expectation,
                               various national branches,branches, has been found    found guilty of funding               Hamas's
                                                                                                             funding Hamas's                                     found ,
                                                                                                                                                                 found.
                       with various
                                               5
                                      wing." This low figure, coupled    coupled     with    the   fact   that  the    accusations
                                                                                                                       accusations                          .    of   fun(
                       resistance wing.15
                       resistance
                                        charity appear         to revolve    around
                                                                             around     providing      money      to  the
                                                                                                                      the   relatives                            with
                                                                                                                                                                 with     of
                                                                                                                                                                          01
                       against this charity
                                      operations rather than funding
                       of suicide operations                            funding the armed struggle directly,16                    calls
                                                                                                                  directly,'" calls
                                                 validity of the claim that llamas
                       into question the v'alidity                                  llamas raises
                                                                                                raises substantial         amounts
                                                                                                         substantial amounts                                     Ilegar'
                                                                                                                                                                 Regan
                                                                activities (as
                                                 resistance activities
                       of capital for its resistance                          (as opposed
                                                                                   opposed to    to its   charitable      network)
                                                                                                     its charitable network)                                      Teaal
                                                                                                                                                                  The
                                    charitable fronts.
                       through charitable          fronts.
                                                                                     cases and, in the case of the UK,
                                                                            court cases
                                                              successful court                                                    UK,                             poses
                                                                                                                                                                  posest
                           Though the number of successful
                                                        thenumer finoled  cariiesactall             necessarily theervs
                                                                                     n schnotundaisngit                     samea asao                            Accon  h
                       Charity Commission investigations                   is of course
                       Charity Commission investigations                   is  of  course     not   necessarily       the   same      as                          of    the
                                                                                                                                                                   occore
                       the number of charities actually involved in such fundraising, it serves as a
                                                                               arguably predict at least the         the order of                                 that
                                                                                                                                                                   that p
                       proxy on the basis
                       proxy               basis of which one can arguably
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                                                          j.                                             Terrorism, charities,
                                                                                                         Terrorism,            and diasporas
                                                                                                                    charities,and            95
                                                                                                                                   diavporas 95

             -Muslim and other
         non-N'uslim
ded both non                                          magnitude of
                                                      magnitude       of the   number of
                                                                          the number      of charities
                                                                                              charities involved.
                                                                                                           involved. In addition,
                                                                                                                            addition, despite
                                                                                                                                         despite intense
                                                         ternational     scrutiny,
                                                      international scrutiny,
                                                      in                             the number      of collapsed     court   cases
                                                                                                                              cases   or "unsuccessful"
                                                                                                                                         "unsuccessful"
         charitable "fronts"
 using charitable     "fronts" isis not                           Commission investigations is of the same order of magnitude and
                                                      Chanty Commission
                                                      chanty                                                                                             and
ind intelligence
Ind                services that "the
     intelligence services                                   number of
                                                      the number            these cases
                                                                        of these    cases has    not been
                                                                                           has not            dramatically affected
                                                                                                      been dramatically         affected by the relax-relax-
ey  is its continuous
zy is       continuous fundraising
                           fundraising                            rules governing the use of evidence gathered
                                                      ation of rules                                              gathered by intelligence         services
                                                                                                                                   intelligence services
rork.8 The inclusion
vork.8        inclusion of Hamas
                             Hamas is is        *     in
                                                      in Icourt.
                                                          court.
                intelligence services
elief among intelligence                                            proxy is acceptable,
                                                              this proxy
                                                          Iff this                                          discrepancies need to be addressed.
                                                                                acceptable, two key discrepancies                               addressed.
                              "fronts"
ling through charitable "fronts"                      First, the number of charities charities accused of fundingfunding either al Qaeda or the
                      predominantly
  charities with a predominantly
:-charities                                           resistance wing of Hamas  Hainas and the number of charities   charities expected to do so by
                        ideology that
rs to the political ideology                          intelligence analysts
                                                     intelligence      analysts diverge.     Second, there is a discrepancy
                                                                                  diverge. Second,                                     between the sig-
                                                                                                                      discrepancy between
society -- are listed isis predictable,
                           predictable,               nificantly larger number of charities
                                                      nificantly                            charities accused of funding funding al      Qaeda and the
                                                                                                                                     a) Qaeda
I the United States       and thereby
                 States and                          smaller      number     of  charities
                                                                                 charities   accused     of  funding
                                                                                                             funding     the  resistance      activities of
                                                                      addition, there is a discrepancy between
                                                      flamas. In addition,
                                                     Hamas.                                                      between the nature of the claims
 ;erious question of why,
serious                      why, if the             against the al    al Qaeda and Hamas  Hamas affiliates.
                                                                                                      affiliates. In order to accountaccount for these
 antics have been found
anties                  found guilty of              discrepancies,
                                                      discrepancies, we must take    take into   account the ideological,
                                                                                           into account                           sociological, organi-
                                                                                                                  ideological, sociological,
                                 Europe
     charities registered in Europe
c charities                                           zational, and historical
                                                     zational,                        contexts of al Qaeda
                                                                         historical contexts             Qaeda and Ham   1-arnasas and consider them
yy from non      -European countries,
           non-European                               in relationship
                                                     in                            development of Muslim
                                                          relationship to the development               Muslim political       activism in Europe.
                                                                                                                    political activism
                     between the view
       divergence between
 the divergence                                          On the basis of publicly availableavailable evidence,           Qaeda. and Hamas
                                                                                                        evidence, al Qaeda                          appear
                                                                                                                                         Hamnas appear
 teir
 Leff  "resistance"
       "resistance"     funds through
                        funds                        to rely less on Western-based
                                                                           Western-based charities                                       activities than
                                                                                                                fund their violent activities
                                                                                                charities to fund                                      than
 tual number of charities identi-  identi-           is  typically believed Furthermore,
                                                      is typically                                        relationship between
                                                                                  Furthermore, the relationship                                    organi-
                                                                                                                           between a violent organi-
 ins about the  the true extent of the               zation and and sympathetic                                            dependent on the organi-
                                                                                      charities is not uniform but dependent
                                                                     sympathetic charities                                                         organi-
 rrowing our focus to the United                *    zation's ideology, self-image,
                                                     zation's                                                development, and the nature
                                                                                              historical development,
                                                                               self-image, historical                                       nature of its
  Wales)' 0 and the Netherlands
 Wales)1°                Netherlands —-              relationship with the larger community community or society                            represent. In
                                                                                                                society it claims to represent.
         linked with al
 'larly linked
 darly                       Qaeda and
                         a] Qaeda                     die case of Hamas, these
                                                     the                         these factors     discourage the redirection
                                                                                        factors discourage             redirection of      funds to any-
                                                                                                                                       of funds
                  charities have
     only two charities
  t tonly                     have been                                                                      humanitarian, ends
                                                                                         stated, usually humanitarian,
                                                                             officially stated,
                                                     thing other than officially                                                           although this
                                                                                                                                 ends ---- although     this
  of having               with links to
                trustees with
      having trustees                   to           is not to say it does not occur. Because
                                                     is                                                        funding for political resistance
                                                                                                   Because funding                           resistance is is
  .these, all
  •these,  all charities
                charities found guilty               readily available from other sources,    sources, Hamas         furthermore has no pressing
                                                                                                          Llamas furthermore                      pressing
   therlands.'2 This disjuncture
  therlands.12           disjuncture is  is          need to pursue this path.  path.
  m that al     Qaeda has infiltrated
            a] Qaeda                                     In                    Qaeda, its ideology, self-image,
                                                         In the case of al Qaeda,                                             historical development
                                                                                                         self-image, and historical         development
                      ourselves to
  'en if we limit ourselves         to the                          discourage abuse
                                                           fail to discourage
                                                     all fail                                                        redirection of funds. As
                                                                                              charities for the redirection
                                                                                   abuse of charities                                                 such,
                                                                                                                                                 As such,
                             amount to  to           one would expect al Qaeda to use charitable                   fronts extensively
                                                                                                    charitable fronts                      However, the
                                                                                                                           extensively However,          the
   \Tetherlands, would amount
   '4Jetherlands,
         there are in the order of
  that there                            of      *    relative scarcity of
                                                     relative                               with proven links
                                                                                charities with
                                                                            of charities                     links to alal Qaeda
                                                                                                                            Qaeda in     Europe can
                                                                                                                                     in Europe     can be be
          correct). 14                               explained by the,
                                                     explained           the, until    now, relative incompatibility
                                                                                until now,                                       between al
                                                                                                           incompatibility between                Qaeda's
                                                                                                                                              al Qaeda's
  ins is correct).14
                                                     ideology and       methods and
                                                                   and methods            the life
                                                                                     and the        experience, practices,
                                                                                               life experience,                  and beliefs
                                                                                                                    practices, and               currently
                                                                                                                                       beliefs currently
   -ope-based charity, admittedly
   •ope-based
                                                     found among the                          Europe's Muslims -— thus
                                                                         the majority of Europe's                         thus rendering
                                                                                                                                rendering the  the option
                                                                                                                                                   option
   nd guilty of funding Harnas's
                               Hamias's
                                                *         fundraising through charities too
                                                     of fundraising                                too uneconomical
                                                                                                        uneconomical to      to compete      successfully
                                                                                                                                compete successfully
   h the fact that the accusations
                            accusations
                                                     with other available        sources of
                                                                     available sources         finance.
                                                                                           of finance.
   roviding money to the relatives
   roviding
                        directly,'16 calls
   armed struggle directly,16
    nas raises substantial amounts
                               amounts                                     and the
                                                               terminology and
                                                     Regarding terminology
                                                     Regarding                                of terrorism
                                                                               the definition of terrorism
                  charitable network)
             its charitable
    sed to its                 network)
                                                       The absence
                                                            absence of of an
                                                                          an internationally    agreed upon
                                                                              internationally agreed    upon definition
                                                                                                                definition of
                                                                                                                            of "terrorism"
                                                                                                                                "terrorism"
                                                       Poses serious problems
                                                       poses senous             for delineating
                                                                                    delineating  what
                                                                                                 what  constitutes
                                                                                                       constitutes  "financing   terrorism."
             in the case of the UK,
       and, in
  tsts and,                                                           problems for                                  "financing terrorism."
                             same as                   According to
                                                       According   to Article
                                                                      Article 2.1
                                                                              2.1 of
                                                                                  of the
                                                                                     the International   Convention for
                                                                                         International Convention      for the
                                                                                                                           the Suppression
                                                                                                                               Suppression
            necessarily the same
  ;e not necessarily              as
         fundraising, it
  ich fundraising,       serves as aa
                                as
      predict at least the order of
                                  of          'xi      of the Financing
                                                              Financing of
                                                            person   by  any
                                                                              Terrorism, aa person
                                                                           of Terrorism,
                                                                              means,
                                                                                             person commits
                                                                                       directly  or indirectly,
                                                                                                                   punishable offence
                                                                                                      commits aa punishable
                                                                                                                 unlawfully   and
                                                       that person by any means, directly or indirectly, unlawfully and wilfully,
                                                    .that
                                                                                                                                          "if
                                                                                                                                 offence "if
                                                                                                                                    wilfully,
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                          .Jeroen Gunning
                       96 Jeroen
                                         collects funds with the intention
                        provides or collects                              intention that they should be used or in              in the
                                                                                                                                   tht .         $-              A
                                                                      used, inin full       in part,
                                                                                        or in                order to
                                                                                                        in order          carry out.A
                                                                                                                      to carry                                   Al (
                         knowledge that they    they are    to be
                                                       are to   be used,          full or       part, in                           out                      traces
                                      aciiie]"
                         [terrorist activities].""
                        [terrorist
                                                                                                                                                     ' tI -the /9*
                            Problems
                            Problems arise not only from the           the fact that terrorism is      is a contested
                                                                                                             con tested concept
                                                                                                                             concept'.'j ,                  Who b     b
                               also from the political
                        but also                    political use of the term.             Because current international
                                                                                  term. Because                     international                           thvr
                                                                                                                                                    , ' ttiovell
                        practice
                        practice is to designate an entire organization  organization as "terronst"
                                                                                                "terrorist" and to make    make afi atDet.                  efectiv
                        dealings with that organization
                        dealings                    organization illegal,
                                                                       illegal, it becomes         impossible to distinguish
                                                                                    becomes impossible                                         .             cal star
                                                                                                                                                            cal.   stat
                                                  activities on the one
                        between terrorist activities
                        between                                            one hand and resistance activities                 carried rt• ~
                                                                                                               activities carried                            jQt Qutl
                              according to the Geneva
                        out according                Geneva Convention                humanitarian activities
                                                                Convention or humanitarian                activities in  insupport
                                                                                                                            support 1;                  4 Abdess
                        of a suffering
                               suffering population
                                             population on   on the other. The   The consequences
                                                                                        consequences of this unresolved unresolved                             col
                                                                                                                                                             an~d coi
                        problem will  will become
                                           become more         evident in the course of the following discussiom
                                                       more evident                                                     discussion.                       cared
                                                                                                                                                            t waed a
                             avoid this
                       To avoid                                  reserve the
                                      this problem, 1I will reserve                      "terrorist" to denote
                                                                             the term "terrorist"            denote solely        act t>,.„
                                                                                                                         solely acts                           i:aut,l
                                                                                                                                                              ocio
                                                                                                                                                            wedfa
                       of political violence (and not organizations    organizations perpetrating
                                                                                            perpetrating them) them) aimedaimed at J;                        rdia
                       terrorizing
                        terrorizing civilians for the purpose of influencing    influencing aa third party                                                  ne
                                                                                                                                                             nefo
                                                                                                                                                         1  and     eve
                                                differences between al
                       Organizational differences                              a] Qaeda and Hamas    Hamas                                                       AlQi
                                                                                                                                                                 AJQaf
                       Organizational
                                                                                                                                                            of Urkfir
                       Though al
                       Though        a] Qaeda
                                        Qaeda and Hamas are sometimes    sometimes treated
                                                                                         treated as        they were
                                                                                                    as if they    were the same same                         against
                                                                                                                                                            against
                       type of organization
                                   organization on the grounds that both organizations       organizations are Islamist,"Islamist"                           wr in<
                                                                                                                                                         ! were
                       the two are       significantly different and represent different
                                   are significantly                                         different ends
                                                                                                         ends of the Islamist
                                                                                                                            Islamist .                       the Mic
                       spectrum. Historically,
                       spectrum.                         Hamas grew out of the Muslim
                                        Historically, Hams                                   Muslim Brotherhood
                                                                                                         Brotherhood move,     move.                         graduat
                                                                                                                                                            gradu      at
                       ment Established
                                  Established in Egypt in                           Brotherhood was both an Islamic
                                                                      1928, the Brotherhood
                                                                in 1928,                                                                                     groundi(
                       revival movement and a grassroots organization                              concerned with
                                                                               organization concerned                       welfare,~
                                                                                                                  with welfare,                              they hacha
                                 justice, and ending
                       social justice,
                       social                                             imperialism. Though increasingly
                                                            (British) imperialism.
                                                  ending (British)                                      increasingly engaged                                states, t
                                                                 characterized Egyptian politics
                                              violence that characterized
                       in the political violence                                                     politics in the 1930s,1930s, at                         return
                                                                                                                                                             return t(  t(
                       its core it was was a movement of middle-
                              entrepreneurs whose
                       and entrepreneurs
                                                                    middle- and lower-middle-class
                                                   whose main interests lay in            reform, not revolution.
                                                                                      in reform,
                                                                                                                   professionals
                                                                                       lower-middle-class professionals
                                                                                                            revolution.                  4
                                                                                                                                                           l
                                                                                                                                                           lembedd,
                                                                                                                                                            embeddi
                                                                                                                                                            "alumni
                                                                                                                                                           1"alumni
                                1945- 1946, the
                           In 1945-1946,              Muslim      Brotherhood
                                                                  Brotherhood         established
                                                                                     established      branches
                                                                                                      branches       in
                                                                                                                     in  Palestine,
                                                                                                                         Palestine.                         Imodatio
                                                                                                                                                           I;modatio
                       Following                  establishment and
                       Following Israel's establishment                                            Arab-Israeli war of 1948,
                                                                                 subsequent Arab—Israeli
                                                                      and the subsequent                                        1948, ,                     istrategy
                                                                                                                                                           !strategy
                             Palestinian Brotherhood
                       the Palestinian                          increasingly focused on providing
                                             Brotherhood increasingly                               providing humanitarian..
                                                                                                                  humanitarian.                  ~ "''SovietSoviet Si   si
                                              estimated 700-800,000
                      services for the estimated             700—800,000         refugees
                                                                                 refugees    who     had    flooded     Gaza     and                        ;  Iative
                                                                                                                                                            'relative     ii
                       the West Bank. Bank. During the 1970s,  1970s, when the Brotherhood                 re-emerged follow-
                                                                                       Brotherhood re-emerged                follow-                             The dd
                                decade-long repression in Gaza and
                      ing aa decade-long                                              disruption in
                                                                                and disruption        in the West Bank,"9Bank,19 itii                           fiected
                                                                                                                                                                .:fected
                       returned to these         humanitarian roots
                                         these humanitarian           roots and focused
                                                                                    focused      on   welfare.
                                                                                                     welfare.     Until    the   out-
                                                                                                                                 out-                        iional    mn.
                                                                                                                                                                       m.
                      break
                      break      of  the  first  Intifada
                                                 Intifada    in   1987,
                                                                 1987,     the   Brothers     largely
                                                                                              largely   refused     to   engage
                                                                                                                         engage     in
                                                                                                                                   in         *.             lipproad
                                                                                                                                                               Pproac)
                       resistance activities.
                      resistance
                           At the start
                      established Hamas
                                       activities.
                                       start of the 19871987 Intifada,
                                        Hamas as its resistance                    as
                                                           resistance wing; as such,
                                                                                     Palestinian Muslim Brotherhood
                                                                Intifada, the Palestinian
                                                                                       such,    it reflected    the
                                                                                                                   Brotherhood
                                                                                                                      thinking     of
                                                                                                                                   Of
                                                                                                                                          .




                                                                                                                                        'i.;.
                                                                                                                                                   .        w    ilding
                                                                                                                                                                uilding

                                                                                                                                                             irate
                                                                                                                                                                  phase:
                                                                                                                                                             Liphasi;
                                                                                                                                                                ate   incl
                                                                                                                                                                      ind
                      the mainstream Muslim Brotherhood.  Brotherhood. Though increasingly increasingly radical
                                                                                                             radical in          atti-
                                                                                                                         in its atti-                        and is he
                      tude towards
                               towards Israel, Hamas'sHamas's focus               gradualism and welfare,
                                                                    focus on gradualism                                 typical of
                                                                                                          welfare, typical                                   well defi.
                                                                                                                                                                      deli.
                      the larger
                             larger Brotherhood,                                  characterize its domestic outlook. r.
                                                             continued to characterize
                                        Brotherhood, continued                                                            outlook.                           /llamas
                                                                                                                                                             l amas h
                      Although begun                      resistance wing of the Brotherhood,
                                       begun as the resistance                                 Brotherhood, Hamas Hamas soon   soon 4 b                      even,
                                                                                                                                                               ven, the

           .1welfare  eclipsed the
                      eclipsed      the mother
                      welfare network
                      resistance
                                   network and
                      resistance wing,        the Izz
                                       wing, the
                                                     organization
                                         mother organization
                                                      delegating the
                                                and delegating
                                                        a] Din
                                                    Izz al         a]
                                                                        by  taking
                                                                       the task
                                                                            task of
                                                                       Qassarn
                                                                                      on   its
                                                                                   of fighting
                                                                                                socio-political
                                                                            taking on its socio-political mantle and
                                                                                       fighting to
                                                                                   Brigades.
                                                            Din al Qassarn Brigades.
                                                                                                       its newly
                                                                                                    to its
                                                                                                                      mantle
                                                                                                             newly established
                                                                                                                                 and
                                                                                                                       established
                                                                                                                                                             alccommi
                                                                                                                                                             #Cdonifi4
                                                                                                                                                             and local
                                                                                                                                                             and     local
                                                                                                                                                             tf'pically
                                                                                                                                                             tfpically
              Case 1:18-cv-02192-HG-PK                                   Document 84-18                            Filed 03/04/22                       Page 7 of 35 PageID #:
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                                                                                                                                  charities,and
                                                                                                                       Terrorism, cliarilies,
                                                                                                                       Terrorism,                diasporas 97
                                                                                                                                              anddiasporas  97
                                                                                                                                                                                 20
 that
  that they  shouldbe
        theyshould         usedor
                        beused    orinin the"
                                          the                 Al     Qaeda -— or,
                                                                m Qaeda            or, more
                                                                                         more precisely,
                                                                                                  precisely, what  what isis usually
                                                                                                                                 usually described
                                                                                                                                              described as   as alal Qaeda
                                                                                                                                                                        Qaeda"       -—

 or       part, inin order
      in part,
  or in                         carryo-,
                             to carry
                      order to           our                          its  origins     to the
                                                            traces its origins to the Muslim
                                                     * traces                                   Muslim         Brotherhood
                                                                                                              Brotherhood             and
                                                                                                                                     and     the
                                                                                                                                            the   takfiri'
                                                                                                                                                 lakfiri"     movements
                                                                                                                                                               movements            of
                                                                                                                                                                                    of
                                                                             Inspired by
                                                                  1970s. Inspired         by Sayyid
                                                                                               Sayyid Qutb, Qutb,an          Egyptian Muslim
                                                                                                                       an Egyptian                       Brother ideologue
                                                                                                                                             Muslim Brother             ideologue
                                                          ibthe 1970s.
     terrorism isisaa contestedco
  t terrorism         contested conceptep                                         radicalized inin prison
                                                                     became radicalized
                                                            who became
                                                          who                                              prison and   and was  was hanged
                                                                                                                                         hanged inin 1966,1966, the   the takfirz
                                                                                                                                                                              takfirt
n.n. Because      current international
       Because current       international                                     capitalized on
                                                            movements capitalized
                                                         mnovements                                    disillusionment
                                                                                                 on disillusionme                 with the
                                                                                                                            nt with        the Brotherhood
                                                                                                                                                 Brotherhood's      's political
                                                                                                                                                                           political
 on as
on        "terrorist" and
       as "terrorist"             make ag
                         and toto make   all                effectivenessand
                                                         effectivenless               with the
                                                                                andwith       theleadership's
                                                                                                    leadership'sdecisiondecision to    tocompromise
                                                                                                                                           compromisewith     withthe   thepoliti-
                                                                                                                                                                              politi-
 !comes      impossible to
 xcomes impossible          to distinguish
                               distinguish                                  quo    under     President       Sadat.
                                                                 status quo under President Sadat. According to
                                                          lull status
                                                         ca.l                                                            According          to the
                                                                                                                                                the ideologues
                                                                                                                                                     ideologues followingfollowing
I andand resistance    activities carried.
          resistance activities     carried                                 footsteps, including
                                                                Qutb's footsteps,
                                                          inin Qutb's                       including ShukriShukn Mustafa Mustafa of     of alal Takfir
                                                                                                                                                 Takfir wa             Hijra and
                                                                                                                                                            wa alal Hijra.       and
iumanitarian        activitiesininsupport
 iumanitanan activities            support                 Abdessalam           Faraj    of   the
                                                          Abdessalamn Faraj of the Egyptian Jihad,   Egyptian        Jihad,      the
                                                                                                                                the    very
                                                                                                                                       very    principles
                                                                                                                                               principles      of
                                                                                                                                                              of   gradualism
                                                                                                                                                                    gradualism
   consequences of
  consequences            this unresolved
                      of this  unresolved                         compromise had
                                                           and comnpronmise
                                                          anid                         had caused
                                                                                             caused the         Brotherhood's
                                                                                                          the Brotherhood            's ineffectivenes
                                                                                                                                         ineffectiveness.n s. 2 They
                                                                                                                                                                   They advo- advo-
 curse of
 )urse   of the   followingdiscussioln
             the following     discussion.           * cated                       break with
                                                                        radical break
                                                            ated aa radical                  with the the status
                                                                                                            status quo             anticipation of
                                                                                                                       quo inin anticipation              acomprehensi
                                                                                                                                                       of-a  comprehensive        ve
     "terrorist" to
nn "terrorist"     to denote    solely acts
                      denote solely    acts                revolution. Society
                                                         revolution.          Society as  as aa whole
                                                                                                 whole was          depicted as
                                                                                                            was depicted                having been
                                                                                                                                    as having              corrupted and
                                                                                                                                                   been corrupted             and aa
 ns perpetrating them) aimed
ns    perpetrating     them)     aimed at at                            withdrawal from
                                                           radical withdrawal
                                                         radical                          from society
                                                                                                   society was          considered necessary
                                                                                                                was considered              necessary to       safeguard the
                                                                                                                                                           to safeguard           the
 ;ncing      third party
  =ning aa third    party                                 newfound ideological purity. Because all of
                                                     * newfound             ideological       purity.     Because        all   of  society
                                                                                                                                  society      was
                                                                                                                                               was    to blame, deception
                                                                                                                                                     to  blame,        deception
                                                                           violence against
                                                                  even violence
                                                           and even
                                                         and                            against its      memberswere
                                                                                                    its members                   deemed acceptable.
                                                                                                                         were deemed           acceptable.
                                                              Al
                                                              Al    Qaeda
                                                                   Qaeda       appears
                                                                              appears      to
                                                                                          to   have
                                                                                               have     emerged
                                                                                                       emerged        as
                                                                                                                     as    a
                                                                                                                           a  loose
                                                                                                                             loose     network
                                                                                                                                       network      out of
                                                                                                                                                   out        the confluence
                                                                                                                                                          ofthe     confluence
teda  and Hamas
 teda and Hamas
                                                         of    takfirz-inclined
                                                          oftakfiri-incline        d volunteers
                                                                                       volunteerswho    whohad         participated in
                                                                                                                hadparticipated             inthe               guerrilla war
                                                                                                                                                    Afghan guerrilla
                                                                                                                                                the Afghan                       war
    treated as
ss treated            they were
             as ifif they          the sarm
                            were the     same             against the
                                                        against         the Soviet       invasion. Those
                                                                              Soviet invasion.           Those who            joined the
                                                                                                                     who joined                struggle in
                                                                                                                                         the struggle       in Afghanistan
                                                                                                                                                                 Afghanistan
        organizations are
 ,oth organizations         are Islamist,"
                                  Islamist,'"            were       increasingly either
                                                          were increasingly                      hardened radicals
                                                                                        either hardened           radicals from                         movements across
                                                                                                                                           Islamist movements
                                                                                                                                  from Islamist                              across
       different ends
 ;ent different
 ;ent                ends of    the Islamist
                           of the    Islamist            the     Middle East,
                                                          the Middle                    North Africa, and Asia, many of whom were
                                                                              East, North         Africa,       and    Asia,      many       of  whom       were university
                                                                                                                                                                      university
 the   Muslim
   the Muslim      Brotherhood
                    Brotherhood        move.
                                       move-              graduates or
                                                         graduates           or professionals
                                                                                  professionals,     , or       members of
                                                                                                         or members               of the                classes with
                                                                                                                                              lower classes
                                                                                                                                       the lower                     with little
                                                                                                                                                                               little
                                                                                                                                                                               3
                was both
  •otherh ood was
 -otherhood              both an an Islamic
                                      Islamic             grounding in
                                                         grounding               Islam or
                                                                             in Islam           expenence of
                                                                                           or experience          of local,        embedded Islamist
                                                                                                                        local, embedded             Islamist politics.' IfIf
                                                                                                                                                                politics."
           concerned with
 ization concerned
ization                      with welfar
                                    welfare,             theyhad
                                                         they            originally been
                                                                  had originally                 part of
                                                                                         been part                            embedded movement
                                                                                                                socially embedded
                                                                                                         of a socially                         movement in         their home
                                                                                                                                                               in their      home
in.              increasingly engaged,
      Though increasingly
 an. Though                         engaged              states, they
                                                        states,       they became           uprooted and
                                                                               became uprooted                       radicalized by
                                                                                                             and radicalized             by the      Afghan war.
                                                                                                                                               the Afghan         war. Upon  Upon
3-gyptian    politics in
 Egyptian politics        in the   1930s, at
                              the 1930s,    at           return to
                                                        return            their home
                                                                     to their             states, they
                                                                                 homestates,                  usually did
                                                                                                      they usually               not fit
                                                                                                                           did not     fit in  with the
                                                                                                                                            in with         more moderate,
                                                                                                                                                      themore        moderate,
 lower-middle      -class professionali
  lower-middle-class         professionals               embedded Islamist
                                                        embedded                         movementsand
                                                                            Islamist movements                    congregated instead
                                                                                                            and congregated                        around other
                                                                                                                                        instead around         other Afghan
                                                                                                                                                                          Afghan
                                                                                                                  24
              not revolution.
     reform, not
 nn reform,           revolution.                        "alumni" and
                                                        "alumni"           and radical       fringe groups.
                                                                                 radical fringe                        Unlike those
                                                                                                        groups.24 Unlike                      involved with
                                                                                                                                    those involved        with the the accom-
                                                                                                                                                                           accom-
 stablished    branches in
  stabhshed branches           in Palestine
                                  Palestine.             modationist offshoots
                                                        modationist            offshoots of    of the
                                                                                                   the Muslim           Brotherhood movement,
                                                                                                          Muslim Brotherhood                   movement, theirs theirs was   was aa
 equent
  equent  Arab-Israeli
           Arab—Israeli       war
                              war   of 1948,
                                        1948,           strategy of
                                                        strategy        of violent                        inspired by
                                                                                        revolution, inspired
                                                                            violent revolution,                               their belief
                                                                                                                        by their                      they had forced the
                                                                                                                                                that they
                                                                                                                                       belief that          had      forced      the
            providing humanitarian
        on providing
  used on
 used                       humanitarian                Soviet       superpower to
                                                        Soviet superpower                   withdraw from
                                                                                        to withdraw          from Afghanistan
                                                                                                                      Afghanistan
                                                                                                                            25
                                                                                                                                            and
                                                                                                                                            and   made
                                                                                                                                                  made     feasible by
                                                                                                                                                          feasible        by their
                                                                                                                                                                              their
       who had
 ;ees who
;eces                            Gaza and
                      flooded Gaza
             had flooded                  and                          isolation from
                                                         relative isolation
                                                        relative                             local communities.
                                                                                     from local        communities.'
Brotherhood          re-emerged follow--
 Brotherhood re-emerged              follow-                 The differences in the historical
                                                             The     differences       in  the                     trajectones of
                                                                                                  historical trajectories                    Hamas and
                                                                                                                                        of Hamas        and al     Qaeda are
                                                                                                                                                               al Qaeda          are
  isruption in the
  isruption              West Bank,S
                    the West      Bank,19 itit          reflected in fundamental variances in ideological, sociological, and organiza-
                                                        reflected       in   fundamental         variances       in   ideological,        sociological,      and      organiza-
             welfare. Until
 cused on welfare.
cused                              the out-
                           Until the     out-           tional      make-up (see
                                                        tional make-up                   Table 5.
                                                                                  (see Table          1). Ideologically
                                                                                                   5.1).   Ideologically,       , Hamas
                                                                                                                                   Hamas has        adopted aa gradualist
                                                                                                                                               has adopted          gradualist
 iers           refused to engage in
       largely refused
 iers largely                to  engage    in           approach to building an Islamic state, with a heavy emphasis on
                                                       approach           to  building     an   Islamic       state,    with     a  heavy     emphasis      on institution-
                                                                                                                                                                 institution-
                                                       building
                                                        building and     and social
                                                                                 social welfare.
                                                                                           welfare. Al          Qaeda favors
                                                                                                          Al Qaeda            favors aa revolutionary
                                                                                                                                              revolutionary approach,
                                                                                                                                                                    approach,
tlestinian    Muslim Brotherhood
 ilestinian Muslim       Brotherhood                    emphasizing violence
                                                       emphasizing            violence and and    terrorism
                                                                                                  terronsm        over
                                                                                                                  over    institution
                                                                                                                           institution       building.    Hamas's Islamic
                                                                                                                                             building. Harnas's           Islamic
Such, itit reflected
3uch,                      thinking of
                       the thinking
           reflected the                               state
                                                        state includes
                                                                  includes most most of      the features
                                                                                         of the     features one  one would
                                                                                                                          would expect             modern state
                                                                                                                                      expect aa modern         state to   to have
                                                                                                                                                                              have
    increasingly radical
;h increasingly
,,h                              its atti-
                              in its
                     radical in       atti-             and isis heavily
                                                       and                      influenced by
                                                                    heavily influenced           by nationalist           discourse. Al
                                                                                                       nationalist discourse.                   Qaeda's end
                                                                                                                                           Al Qaeda's             goal is
                                                                                                                                                            end goal        is less
                                                                                                                                                                               less
 lualism and
lualism            welfare, typical
            and welfare,     typical of of             well      defined and
                                                        well defined                  appears to
                                                                              and appears          to reject      many of
                                                                                                        reject many           of the     features of
                                                                                                                                   the features              modern state.
                                                                                                                                                      of aa modemn           state.
                                                                                                                               to compromise                                - and
-acterize          domestic outlook.
             its domestic
 -acterize its                 outlook.          r     Hamnas
                                                        Hamas has           shown an
                                                                      has shown            increased willingness
                                                                                       an increased         willingness to         compromise domestically
                                                                                                                                                      domestically
                                                                                                                                                                 6          - and
 the Brotherhood
the   Brotherhood,    , Hamas
                         Hamas sool  soon             even,        though       to  a  far   lesser    extent,      in   its   attitude
                                                       even, though to a far lesser extent, in its attitude towards Israel26 — and to        towards     Israel'      -   and     to
in its socio-political
in                         mantle and
        socio-political mantle        and             accommodate                other-thinkers, resulting
                                                       accommodate other-thinkers,                         resulting in          partnerships with
                                                                                                                            in partnerships                  both Western
                                                                                                                                                     with both          Western
ighting to
ighting     to its  newly established
               its newly   established                 and local
                                                      -211d                                   institution& Al
                                                                         non -Islamist institutions.
                                                                local non-Islamist                                      Qaeda nurtures
                                                                                                                  Al Qaeda          nurtures an       absolutist attitude,
                                                                                                                                                  an absolutist         attitude,
pgades.
gades.                                                                  limiting its
                                                       typically limiting
                                                       typically                         partnerships
                                                                                     its partnerships to fellowto  fellow      Islamist
                                                                                                                               Islamist      organizations of
                                                                                                                                             organizations            a radical
                                                                                                                                                                 of a radical
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                             98 Jeroen
                                Jeroen Gunning

                                   .51 Ideological,
                             Table 51  Ideological, sociological,
                                                    sociological, and organizational
                                                                      organizational differences
                                                                                     differences between llamas
                                                                                                         Han.
                                           a] Qaeda
                                       and al
                             Harnas
                             Hamas                                      al Qaeda
                                                                        a! Qaeda

                             • *Gradualist
                                Gradualist                               •e Revolutionary
                                                                            Revolutionary
                             • *Accommodationist
                                Accommodationist                            Absolutist
                                                                        o• Absolutist
                             •" Non-takfiri                               •* Takfin
                                                                             Takfiri
                             •" "Jihadist"      vis-A-vis Israel
                                "Jihadist" only vis-a-vis                 •* "Jihadist"  vis-i-vis world,
                                                                             "Jihiadist" vis-a-vis world, including
                                                                             "corrupted" Muslims
                                                                             "corrupted"    Muslims                           *   *;,.*
                                                      (national)
                                          embedded (national)
                             •" Socially embedded                        o• Minimal welfare
                                                                                        welfare structure
                             •" Welfare  structure
                                Welfare structure                         •* No political   representation
                                                                                 political representation
                                           representation
                             •" Political representation                  •* Little social emphasis   besides military
                                                                                           emphasis besides
                                                                             emphasis
                                Social emphasis
                             •* Social                     military
                                                   besides military
                                        emphasis besides                                  accountability
                                                                        •9 Little local accountability
                                activities
                                activities
                                                      accountability
                                lirg,h level of local accountability
                             •* High


                                    Hamas usually limits its use of the word
                            bent Hamas                                                                           against
                                                                                        Jihad to the struggle against
                                                                                  word jthad                              ,


                            Israeli occupation,
                            Israeli  occupation, andand largely refrains from            calling dissenting
                                                                                  from calling                 Muslims
                                                                                                  dissenting Muslims
                             "1apostates." Al
                            "apostates."   Al Qaeda
                                               Qaeda and
                                                       and affiliates
                                                             affiliates use the term jiliad                        strug-
                                                                                         jihad to describe their strug-
                            gle against not only the West but against all Muslims   Muslims they consider      "lapsed"
                                                                                                    consider "lapsed"
                                 dissenting)."7
                            (or dissenting).27
                               Sociologically,   Hamas is
                               Sociologically, Hamas      is an embedded organization                          activists.
                                                                                                   grassroots activists.
                                                                                organization of grassroots
                            Because   Hamas's "military"
                            Because Hamas's                    strength does
                                                  "military" strength      does not match                  (pro-Fatah)
                                                                                       match that of the (pro-Fatah)
                                                                     services, its power stems
                                                         security services,
                                          Authority's security
                            Palestinian Authority's                                                  largely from
                                                                                              stems largely   from the
                                                            galvanizes in the
                                                support it galvanizes
                            level of popular support                                annual professional
                                                                               the annual    professional and   student 4
                                                                                                           and student
                            union                       functioned as a barometer
                                    elections (which functioned
                            union elections                                                             support in
                                                                              barometer of popular support         in the
                            absence of
                            absence   of national elections)     and, most recently,
                                                    elections) and,                               municipal and legis.
                                                                                recently, in the municipal          legis-
                            lative elections
                                   elections of  2005--2006 As
                                              of 2005-2006            result, Hamas
                                                                As a result,             depends for its very survival
                                                                                Hamas depends
                                                                         o~f its
                                                              interests of
                                        championing the interests
                            largely on championing                           its various   constituencies. The middle
                                                                                 venous constituencies.
                                                              particularly professionals
                                                   classes, particularly
                                  lower-middle classes,
                            and lower-middle                                    professionals and the the petty    bour-
                                                                                                          petty bour-'
                            geoisie,
                            geoisie, form the backbone                         constituency2 28
                                                                  Hamas's constituency
                                                 backbone of Hamas's                                             classes,
                                                                                                 Among these classes,`
                                                                                              " Among
                                                                                                                                  9~f
                                                                       institution-building tend
                                           accommodation, and institution-building
                            gradualism, accommodation,
                            gradualism,                                                         tend to be the tactics
                                                                                                                  tactics
                                choice.29
                            of choice.'
                            of
                                Even the many
                               Even               students who support
                                           many students                                          gradualist rather
                                                                              Hamas tend to be gradualist
                                                                   support Hamas
                            than revolutionary
                                  revolutionary    in
                                                   in domestic   terms
                                                                 terms   —
                                                                         -  although
                                                                           although   they  simultaneously
                                                                                            simultaneously   provide
                                                                                                          0 Because
                                                                                                   Israel."
                            much of the impetus for a sustained radical attitude          towards Israel."
                                                                                attitude towards
                                                       leadership comes
                                            Hamas's leadership
                            the bulk of Hamas's                     comes from the same         constituency as its
                                                                                         same constituency          its
                 4                             policies naturally
                            supporters, its policies
                            supporters,                  naturally reflect        social preferences
                                                                     reflect the social                          con-
                                                                                          preferences of this con-r
                                        Institution-building, gradualism
                            stituency Institution-building,
                            stituency.                           gradualism and ensuring       integrity, moreover,
                                                                                     ensuring integrity,  rnoreovet)
                            are precisely    the type  of  practices
                                                           practices   that  have
                                                                             have  catapulted
                                                                                   catapulted   Hamas
                                                                                                Hamas    to its 2006
                                                                                                            its
                                                  as illustrated by the fact that a national survey
                                        victory, as
                            electoral victory,
                            electoral                                                                 survey found
                            that only 7 percent         respondents believed
                                           percent of respondents                       voters had elected Hamas
                                                                        believed that voters                  Hamas                     2
                            to be "a                authority that resists
                                         fighting authority
                                     "a fighting                                occupation," as
                                                                       resists occupation,"        against 36
                                                                                                as against   36 and .
                                          respectively believing people wanted
                                percent respectively
                            37 percent
                            37                                              wanted "a"a clean authority           ghts
                                                                                               authority that fifight$
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                                                                                                                                                                    6
                                                                                                          Terrorism, charities,
                                                                                                          Terrorism, charities, and
                                                                                                                                and diasporas
                                                                                                                                    diasporas 99

                                              torvption"          or "an Islamic         authority that rules according to Shari'a and
  onal differences
       differences between Hama,
                           Hartp. 4t.              Corupton"or        "an Islamic authority that rules according to Shari'a and
                                                  .jgon."~ Consequently, Hamas's emphasis
                                                                Consequently,       Hamas's         emphasis is      is as    much on social
                                                                                                                         as much             social welfare,
                                                                                                                                                       welfare,
                                                        transformation,       and   local      politics  as  it  is
                                              social transformation, and local politics as it is on fighting Israel.  on   fighting     Israel.




                                        •
                                                 Al     Qaeda, by
                                                 Al Qaeda,        by contrast,
                                                                      contrast, is is primarily
                                                                                        primarily aa transnational
                                                                                                          transnational network    network with  with limited
                                              local    roots.  Its various   constituent        and
                                                lal roots. Its various constituent and affiliated    affiliated      parts
                                                                                                                     parts    are
                                                                                                                              are    largely
                                                                                                                                     largely   un-embedded
                                                                                                                                               un-ebde
    onary
  iionary
   ist
   ist                                        and typically
                                              and                 have no
                                                     typically have          welfare network
                                                                         no welfare      network of    of note.'
                                                                                                           note."2 They They do  do notnot seek
                                                                                                                                            seek to to partici-
                                                                                                                                                        partici-
                                              pate   in  local   politics, except    in
                                                                                     in   a
                                                                                          a   parasitic
                                                                                              parasitic   manner
                                                                                                          manner         (as
                                                                                                                         (as  illustrated
                                                                                                                              illustrated      by
                                                                                                                                               by  al
                                                                                                                                                   al  Qaeda's
                                                                                                                                                       Qad'
                                            *pale in local politics, except
 1"    vis-&.-vis world,
   :t" vis-a-vis         including
                  world, including            behavior in
                                              behavior      in
                                                                Sudan
                                                                Sudan
                                                                         and
                                                                         and
                                                                               Afghanistan),33
                                                                               Afghanistan),"
                                                                                                      3 and
                                                                                                        and
                                                                                                               this
                                                                                                                this
                                                                                                                        is  precisely what
                                                                                                                        is precisely      what
                                                                                                                                                   appears
                                                                                                                                                   appears     to
                                                                                                                                                               to

   ted" Muslims
  ted"                                                    those    who   are   disillusioned         with
                                             ,tract those who are disillusioned with the grinding gradualism
                                             attract                                                        the      grinding         gradualism       of   local
  1Iwelfare   structure
     welfare structure
 tical representation                                      Their constituencies
                                              politics. Their
                                              politics.             constituencies do   do not not appear
                                                                                                    appear to  to be be asas well      defined as those
                                                                                                                               well defined           those of
                                              lamas.       They
                                              Jiamnas. They includeinclude   both
                                                                             both    well-educated
                                                                                     well-educated          members
                                                                                                           members           of
                                                                                                                             of   the
                                                                                                                                  the   upper    and     middle
 icia]  emphasis besides
 Iola] emphasis     besides military
 is
 ts                                           classes and social dropouts
                                              classes                                    members from the lower
                                                                       dropouts or members                                      classes."4 The
                                                                                                                       lower classes.'       The one thing
       accountability
 cal accountability                           that appears
                                                    appears to   to unite  these disparate
                                                                    unite these                   groups is
                                                                                   disparate groups          is a feeling
                                                                                                                     feeling of uprootedness.
                                                                                                                                      uprootedness.
                                                 Al Qaeda         and   affiliates    can
                                                        Qaeda and affiliates can "afford"      "afford"     to     maintain an uncompromising
                                                                                                                   maintain
                                             approach to the status                  because they are less embedded
                                                                      status quo because                                 embedded and do        do not need need
                                                         mass    acceptance
                                             to gain mass acceptance            for   their    survival     Their      immediate
                                                                                                                       immediate         goal   is not
                                                                                                                                                   not    politi-
                                                                                                                                                          politi-
                                             cal power through mass support;    support; insteadinstead they seek influence                through daring
                                                                                                                             influence through
   jiliad to the struggle
 d jihad         struggle against            and    symbolic      violent
                                                                  violent  actions.
                                                                           actions.     For
                                                                                        For    this,
                                                                                               this, they
                                                                                                     they   need      dedicated
                                                                                                                      dedicated        members,
                                                                                                                                       members,            mass
                                                                                                                                                     not mass
             dissenting Muslims
 n calling dissenting                        membership.
                                             membership. Al       Al Qaeda and affiliates          thus derive their power
                                                                                     affiliates thus                           power fromfrom their ability
 mjihad
 m phad to   describe their strug-
          to describe                                    dedication from their followers, to
                                             to elicit dedication                                      to escape detection
                                                                                                                        detection by the authorities,
                                                                                                                                                 authorities
 luslims                 "lapsed"
               consider "lapsed"
 luslims they consider                       and to raise the funds and       and the meansmeans to  to carry
                                                                                                         carry out   out the revolution
                                                                                                                                  revolution -— not from   from
                                                                                            institution-building, or charitable
                                                     participation in elections, institution-building,
                                             their participation                                                                 charitable work.work.
 nization of grassroots  activists.
              grassroots activists
                      (pro- Fatah)
  match that of the (pro-Fatah)
  match
                                                       organizational differences
                                             Impact of organizational                use of charities
                                                                      differences on use
         stems largely
power stems     largely from the
       professional and student
inual professional
=al                                                                  ideological, sociological,
                                             Taken together, the ideological,     sociological, and historical    differences
                                                                                                      historical differences
eter of popular support in the               between Hamas and
                                             between              al Qaeda
                                                              and al                 explain the current
                                                                     Qaeda can help explain               divergence in their
                                                                                                 current divergence
tly, in the municipal   and legis-
             municipal and                   relationships      charities.
                                             relationships with charities.
 as depends
as                        survival
    depends for its very survival
ous  constituencies. The middle
ous constituencies.                          Hamas
                                             Hainas
%sionals and the petty bour-
ssionals
tuency 228' Among
tuency      Among these    classes,
                    these classes,            Hamas's particular
                                             Hamas's                                          provides one of the
                                                                                  trajectory provides
                                                         particular historical trajectory                         the chief explan-
                                                                                                                              explan-
building
building tend to be the tactics              ations for the organization's       structural make-up and the
                                                               organization's structural                                     charities
                                                                                                             the place of charities
                                                                        activities of the Muslim
                                                             original activities
                                             therein. The original                                    Brotherhood in the area
                                                                                            Muslim Brotherhood                area of
                 gradualist rather
  is tend to be gradualist                   welfare, education,
                                             welfare,  education, and institution
                                                                          institution building          provided, and continue
                                                                                       building have provided,           continue to
          simultaneously provide
  ,h they simultaneously
 ;h                                          provide, much of the modus vivendi of Hamas.                          extent, Hamas's
                                                                                             llamas. To some extent,        Hamnas's
  itude towards
 etude           Israel.30 Because
        towards Israel.30  Because          resistance
                                             resistance activities                                     movement's social
                                                                          secondary to this larger movement's
                                                          activities are secondary                                            agenda
                                                                                                                      social agenda
              constituency as its
   the same constituency                    -— despite           centrality in Palestinian
                                               despite their centrality          Palestinian Islamist discourse.     This reality is
                                                                                                         discourse. This
        preferences of this con-
  ocial preferences
 octal                                       reflected not only in the fact that far fewer
                                            reflected                                     fewer people       involved in resistance
                                                                                                people are involved        resistance
II ensuring integrity, moreover,
                         moreover,          activities than
                                            activities            welfare"5 but also
                                                        than in welfare35        also in the                charities considered
                                                                                         the fact that the charities  considered to
              llamas to its 2006
.atapulted Hamas
;atapulted                                  be affiliated
                                                affiliated with
                                                            with Hamas
                                                                  llamas are    organizationally independent
                                                                           are organizationally                  from the
                                                                                                  independent from      the political
                                                                                                                             political
          national survey found
  hat a national                                  resistance wings.
                                            and resistance
iat   voters had elected Hamas
tat voters                 Hanas               Each of
                                               Each            charities has its own
                                                       of the charities                  administration and
                                                                                   own administration             answerable to
                                                                                                          and is answerable     to its
                                                                                                                                    its
upation," as against 36 and
upation,"                                   own board of trustees.        Since the boards
                                                               trustees. Since        boards of trustees     typically consist
                                                                                                   trustees typically  consist ofof aa
I "a clean authority
1"a                             ghts
             authority that fifights        cross-section of
                                            cross-section    of people
                                                                people considered     upright by their communities,
                                                                         considered upright                             they tend
                                                                                                        communities, they           to
                                                                                                                              tend to
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                            100
                            100     .JeroenGunning
                                    Jernen Gunning
                            include
                             include both Hamas                  non-Hamnas members
                                                 Hamas and non-Hamas               members (although a majonty     majority are
                            cally Harnas          affiliates).' 6 Those
                                      Harms affiliates).'           Those involved
                                                                               involved in the charities  charities often
                                                                                                                        Often bb
                            involved because of a concern for social justice
                            involved                                                      justice or Islamic education.
                                                                                                                    education.
                            result,                       agendas do not necessarily
                                            charities' agendas
                             result, the charities'                                                coincide with the agendas
                                                                                 necessarily coincide
                            Hamas's political or resistance
                            Hamnas's                                      wings, however, many
                                                           resistance wings,                       many trustees
                                                                                                            trustees do share
                            ideological commitments
                                              commitments and some serve as political             political leaders.
                                                                                                               leaders. However..
                                                                                                                           However
                            Hamas's
                            Hamas's political               resistance agenda is likely to jeopardize
                                           political or resistance                                        jeopardize the chartthan
                            well-being, those involved in the charities
                            well-being,                                     charities may well put the                         survi
                                                                                                              the charity's survi
                            first —    as many did during the
                                    - as                              the 1970s
                                                                            1970s and 1980s  1980s whenwhen theythey supported
                                                                                                                       supported tbo1t
                            Brotherhood's refusal to join the resistance.
                            Brotherhood's                                    resistance.
                                Although the chantablecharitable "wing" "g         is organizationally           independent Ifto,
                                                                                        organization ally independent             fiat.
                            Hamnas's political
                            Hamas's       political structure, Hamas Hamas denvesderives a considerable
                                                                                                considerable amount
                                                                                                                  amount of politi.
                                                                                                                                 politi      v''     10
                            cal clout fromfrom its affiliated charities           Oust as
                                                                    charities (just       as the charities
                                                                                                     charities derive status fromjfrom       i       V(
                                     affiliation with Hamas). Because
                            their affiliation                             Because Hamas                socially embedded,
                                                                                       Hamas is socially           embedded, ideo.ide().'  *         ai
                                                                                                                                                     D
                           logically      non-iak/iri,and
                            logically non-lakfiri,        and because
                                                                 because its its power is   is largely
                                                                                               largely dependent
                                                                                                          dependent on   on maintain.
                                                                                                                             maintain-               in,
                                                                                                                                                     in
                           ing                  support," it has
                                  popular support,"
                            ing popular                           has a strong
                                                                           strong incentive
                                                                                      incentive to present                     socially
                                                                                                         present itself as socially                  b
                            involved. To
                            involved.              seen to
                                          To be seen      to be involved in charitable
                                                                                    charitable work and      and in fundraising
                                                                                                                      fundrising for .               tb
                                                                                                                                                     th
                                        helps Hamas
                            charity helps        1-amnas to to bolster its image as                socially active
                                                                                           as a socially                      "caring"
                                                                                                               active and "caring"         I         hi,
                                                                                                                                                      ht
                           organir~ation. This
                           organization.          This in turn          likely to increase
                                                            turn is likely                               fundraising potential.
                                                                                      increase its fundraising            potential. It It            a
                           is
                           is thus not        surprising that,
                                       not surprising               according to
                                                             that, according             Israeli intelligence
                                                                                     to Israeli     intelligence estimates, 80    80 toto             dc
                                                                                                                                                      do
                           90    percent of the money raised by
                            90 percent                                    by "Hamas"
                                                                               "Hamas" (to be understoodunderstood in the widest                      H
                           sense as those who are part of the larger social movement
                           sense                                                                 movement of which  which Hamas isis                  rn
                                               expression, and thus
                           the political expression,                                           charities) is
                                                                     thus not just the charities)                           charitabk
                                                                                                             is spent on chantable,                   bc
                                                                                                                                                      be
                           educational, and medical
                           educational,                            institutions - leaving
                                                      medical institutions               leaving only 10                   percent for
                                                                                                              10 to 20 percent       for              sti
                           "military"       endeavours."P
                             "military" endeavours.'                                                                                                  PC
                                Equally important for Hamas's political                     standing is
                                                                              political standing             the fact that the char-
                                                                                                          is the                                      1-1
                                                                                                                                                      14
                           ities have a reputation                                transparency. For
                                                                   financial transparency.
                                              reputation for financial                                 For both     ideological and
                                                                                                              both ideological      and                tic
                                                                                                                                                       d
                           political reasons,        Hamas has
                                         reasons, Hamas         has   chosen     to  make     incorruptibility its selling point.
                                                                                              incorruptibility      its
                           Helped by the fact
                           itiesHelped                                         population views
                                                                  general population
                                                 fact that the general                                  its rival, Fatah,
                                                                                                views its           Fatah, as deeply .       I          t
                                                                                                                                                      Sti
                           corrupt 3 incorruptibility
                           corrupt,39      incorruptibility has   has gained Hamas  Hamas both political popularity  popularity (see                  ra
                           election victory
                           election                details above) and aa steady flow of voluntary donations.
                                        victory details                                                             donations. ThisThis               th
                                                                                                                                                       t
                           reputation has been supported by Hamas's
                           reputation                                                           affiliation with various
                                                                                Hamas's affiliation                              highly
                                                                                                                      vanous highly           I        hs
                                                                                                                                                       la
                           regarded NGOs  NGOs (many                      employed
                                                    (many of those employed              in
                                                                                         in  financial
                                                                                             financial     positions    by the  United
                                                                                                           positions by the United                     $2
                                                                                                                                                       $

                           Nation's Relief and Works
                           Nation's                     Works Agency          (UNRWA), the agency
                                                                  Agency (UNRWA),                     agency running       Palestinian
                                                                                                                running Palestinian              I      la
                                                                             Hamas). It has
                                                        affiliated with Hamas).                             ensured the
                                                                                                     also ensured           continued
                                                                                                                        the continued                   va
                                                                                                                                                        v
                           refugee camps, are affiliated
                           refugee                                                             has also
                           support of financial          contributors, both
                                            financial contributors,           both inside       Palestine and
                                                                                      inside Palestine        and abroad.     Save the
                                                                                                                   abroad. Save      the   1 1          al
                           support
                                                      M~decins sans Fronueres,
                                          USAID, Medecins
                           Children, USAID,
                           Children,                                        Fronti~res, and Medical                       Palestine are
                                                                                                   Medical Aid for Palestine                             se
                p                            international, non-Islamic
                           among the international,
                           among                                                    charities that
                                                                 non-Islamic charities            that have      contributed at one
                                                                                                         have contributed
                                                                                                                                                           th


                1~
                                                      charities affiliated with Hamas,
                                       another to charities
                           time or another                                                                        because they
                                                                                                     precisely because
                                                                                         Hamas, precisely                    they have
                                                 contributions reach their intended destination.90  destination."n                                         nc
                           observed
                           observed that contributions
                                                                                           those                  not subscnbe         to                  la
                               Locally, many Palestinians, including                       those who who do  do not      subscribe to                      la
                               Locally,      many Palestinians, including         contribute to Hamas-affiliated charities                                  Pi
                           Hamas's       political program,
                           Hamas's political                        prefer to
                                                      program, prefer         to contribute to Hamas-affiliated charities                                   P
                                                                                                                                                            Ps
                                                             with a reputation
                                                 charities with
                           rather than to charities                    reputation for less         transparency. Consequently,
                                                                                             less transparency.       Consequently,                         P
                                                         interest not only in ensuring ensuring that the                    thnve but
                                                                                                                charities thrive
                                                                                                           the chanties                                     ar
                                                                                                                                                            at
                             Hamas has a vested interest
                           Hamas
                           also that
                                   that  they
                                          they   maintain
                                                  maintain      a  reputation
                                                                   reputation       for   financial
                                                                                          financial     transparency
                                                                                                        transparency        Given
                                                                                                                            Given    the
                                                                                                                                     the      IH
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                                                                                                     Terrorism, charities,
                                                                                                     Terrorism, charities, and diasporas 10!1
                                                                                                                               diasporas 101
    (although a majority
 rs (although      majority are typt.
                                  typi.           Close-knit
                                                  close-knit naturenature of        Palestinian society,
                                                                               of Palestinian      society, the
                                                                                                              the intense
                                                                                                                   intense scrutiny          charities are
                                                                                                                                scrutiny charities         are
     the charities often become
 n the                        becomne             under from        the    Israeli   government
                                                             from the Israeli government             (as
                                                                                                     (as  exemplified
                                                                                                          exemplified     m
                                                                                                                          in  various
                                                                                                                               various    army
                                                                                                                                          army     raids
                                                                                                                                                   raids    on
                                                                                                                                                            on
 tice or Islamic education
                    education As aa                haty buildings),
                                                  charity     buildings), the permanent presence   presence on on the ground of international
                                                                                                                                       international aid
     coincide with the agendas
 ly coincide              agendas ofof            workers, and
                                                  workers,            the requirement
                                                                and the       requirement of       providing annual
                                                                                               of providing                accounts (scrutinized by
                                                                                                                 annual accounts
•,r, many trustees
            trustees do share
                         share these
                                 these                 authority that,
                                                  an authority        that, until
                                                                                until the   2006 elections,
                                                                                       the 2006    elections, was
                                                                                                                was hostile
                                                                                                                      hostile to the charities
                                                                                                                                           charities con-con-
 ≥5political
    political leaders.
               leaders. However ifif              cerned)
                                                  cerned) thisthis reputation
                                                                    reputation would would be be difficult     maintain if
                                                                                                            to maintain
                                                                                                 difficult to               if irregularities     occurred
                                                                                                                               irregularities occurred
  -ely to jeopardize
 :ely     jeopardize the    charity's
                       the charity's          • on       large scale.
                                                  on a large      were
                                                                  scale.
 vy well put the charity's
                   charity's survival                lif there were a hint of suspicion  suspicion that money
                                                                                                            money was spent on             projects other
                                                                                                                                     on projects
  )80s when they
 )80s           they supported the                than     those    advertised,
                                                  than those advertised,              charities
                                                                                      charities   would
                                                                                                  would     risk
                                                                                                            risk  losing
                                                                                                                  losing    donor
                                                                                                                            donor     confidence.
                                                                                                                                      confidence.       This
                                                                                                                                                        This
                                                 holds for Western
                                                                 Western donor           charities whose
                                                                                donor charities      whose activities
                                                                                                               activities are scrutinized
                                                                                                                                  scrutinized by both
iizationally independent fromi
iizationally                      from             egulatory bodies
                                                 rregulatory       bodies and watchful pro-Israeli              organizations.41 It also holds for
                                                                                                 pro-Israeli organizations."'                              for
considerable amount of
considerable                 of politi-
                                 polite_                                                        number
                                                 local Palestinians, a significant number of whom would
                                                          Palestinians,        a  significant              of whom     would not give   give money
                                                                                                                                              money if it    it
he charities derivederive status fromn
                                  from           could be linkedlinked to       terrorism -— whether
                                                                           to terrorism        whether for for ethical
                                                                                                                ethical or ideological
                                                                                                                              ideological reasons or,
                    embedded, ideo-
is is socially embedded,                          until recently,
                                                          recently, for for fear of being implicated in Hamas's     Hamas's resistance
                                                                                                                                  resistance wing and
argely dependent on maintain-
argely                      maintain-            imprisoned (under the previous                  Palestinian Authority).
                                                                                     previous Palestinian        Authority). Just as the chanties'
                                                                                                                                                 charities'
ye to present itself as socially                 boards consist of both
                                                 boards                              Hamas and non-Hamas
                                                                             both Hamas             non-Hamas members,
                                                                                                                    members, so do the donors   donors to
,le work and in fundraising
de                     fundraising for           these charities. Thus it is in both the
                                                 these                                                charities' and Hamas's
                                                                                                 the charities'                        interests to keep
                                                                                                                         Hamas's interests              keep
                             "carng"
     socially active and "caring"
a socially                                       humaaitarian and "military"
                                                 humanitarian                                fundraising apart.
                                                                              "military" fundraising         apart. This does not mean  mean that such  such
          fundraising potential.
;ee its fundraising      potential. It           a distinction
                                                    distinction is always always upheld.        Significantly, however,
                                                                                     upheld. Significantly,                     Matthew Levitt,
                                                                                                                  however, Matthew            Levitt, who
 liIi intelligence
      intelligence estimates,
                     estimates, 80 to            dedicated an entire book to             to making the claim claim that charities are          integral to
                                                                                                                                         are integral
         understood in the widest
 o be understood                                 Hamas's terrorist activities,                    mentions a few
                                                                              activities, only mentions           few instances where charitablecharitable
  movement of which  which Hamas
                            Hamas is  is        money is believed to          to have    been used for armed activities,
                                                                                  have been                         activities, and wherewhere he does,does,
iarities) is
rarities)        spent on
              is spent  on charitable,
                           charitable,          he    generally fails to provide
                                                he generally                                the level of
                                                                                  provide the           of detail needed to make these claims        claims
ig only 10 to 20 percent
lg                        percent for
                                    for                    Instead, his argument rests on the overlap in personnel
                                                stick. Instead,                                                                             between the
                                                                                                                             personnel between
                                                 political,    military and charitable
                                                 political, military                             wings and on the fact
                                                                                    charitable wings                                      charities help
                                                                                                                        fact that the charities         help
iding is the fact
iding          fact that the char-               Hainas spread its ideology,
                                                 Hamas                                          provide an
                                                                             ideology, and provide             infrastructure and jobs (which he
                                                                                                           an infrastructure
                   ideological and
icy For both ideological                        describes as
                                                describes           "covers")." 2
                                                               as "covers").A2
corruptibility its selling point.
corruptibility                                      The factfact that financial
                                                                         financial resources are   are readily
                                                                                                        readily available
                                                                                                                  available to support the violent  violent
iews       rival, Fatah,
 sews its rival,  Fatah, as deeply              struggle facilitates
                                                struggle      facilitates Hamas's          commitment to keep welfare
                                                                              Hamas's commitment                     welfare and resistance
                                                                                                                                       resistance fund-fund-
3oth political popularity (see
Doth                             (see           raising apart.
                                                             apart. The Qassam  Qassam Brigades'
                                                                                            Brigades' funding
                                                                                                         funding is shrouded in secrecy,  secrecy, as is    is
   of voluntary donations,
• ,of             donations This                the identity of     of its financial sources. The Israeli Ministry of              of Foreign
                                                                                                                                        Foreign Affairs
                                                                                                                                                    Affairs
filiation           various highly
 ffiliation with various                        has claimed variously that the Brigades' budget is $10                              million, "at
                                                                                                                              $10 million,       "at least
incial positions by the United             1, $20 million,"
                                                       million," and "several "several tens of millions of dollars per year.""A      year.s43 However
                                                                                                                                                 However
             running Palestinian
he agency running                              large its actual budget,  budget, sufficient funds  funds appear to be availableavailable from
                                                                                                                                            from aa wide
                                                                                                                                                       wide
is also
     also ensured thethe continued             variety of
                                               variety       of sources, including
                                                                               including those intent on     on keeping the conflict with     with Israel
                                                                                                                                                      Israel
                            Save the
                 abroad. Save
 alestine and abroad.
 alestme                                       alive, those
                                                          those wishing to sustain   sustain an effective opposition
                                                                                                                opposition to Fatah,Fatah, and those
   Medical Aid for     Palestine are
                  for Palestine                seeking to    to strengthen
                                                                 strengthen IslaismIslamism region-wide.
                                                                                               region-wide.
              contributed at one
 that have contnbuted                               Even if the   the post-Saddam
                                                                         post-Saddam Middle   Middle East "order""order" may have            diminished
                                                                                                                                     have diminished
               because they have
 s, precisely because                          the sources
                                                       sources of    of funding
                                                                            funding for the organization's
                                                                                                    organization's resistance            wing," other
                                                                                                                         resistance wing,44           other
    destination. 40
    destination:*                              non-charitable
                                               non    -chartable sources
                                                                       sources are   are potentially      available to
                                                                                           potentially available      to Hamas,
                                                                                                                           Hamas, such such as as money
                                                                                                                                                   money
                      subscribe to
     who do not subscribe
    who                                        laundering4 5 and
                                               laundering's         and smuggling
                                                                            smuggling These,These, ifif conducted
                                                                                                        conducted out out of of sight
                                                                                                                                 sight from     ordinary
                                                                                                                                         from ordinary
      Hamas-affiliated charities
  to Hamas-affiliated      charities           Palestinians
                                               Palestinians (for    (for instance
                                                                            instance in  in the notorious
                                                                                                  notorious tri-border
                                                                                                                tni-border area       between
                                                                                                                                area between Brazil,
                                                                                                                                                   Brazil,
   transparency Consequently,
                    ConsequentlY,              Paraguay, and    and Argentina
                                                                      Argentina where          Hamas affiliates
                                                                                       where Hamas       affiliates have    allegedly been
                                                                                                                     have allegedly             active)
                                                                                                                                         been act         ,"
                                                                                                                                                     ive),46
  transparency.
                         thrive but
             charities thrive
  , that the charities                        and used used solely
                                                                solely for for funding       clandestine activities,
                                                                                  funding clandestine        activities, are     unlikely to
                                                                                                                           are unlikely          damage
                                                                                                                                             to damage
       transparency.
   ial transparency.    Given    the           llamas's local image
                                              Hamas's                 image as aa "clean"clean operator."
                                                                                                operator."
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                                                                                                                                            •-?
                       102 Jeroen
                       102 Jeroen Gunning
                                  Gunning
                           Following the above analysis, analysis, it isis hardly surprising
                                                                                    surprising that      only one
                                                                                                   that only         European_
                                                                                                                one European..         ~ ~ tonstitu       itil
                        registered Islamic
                                       Islamic chanty        has been
                                                    charity has            linked by
                                                                   been linked           courts to
                                                                                    by courts          Hamas's resistance.
                                                                                                   to Hamas's      resistance_
                                                                                                                                                               uonti
                                                                                                     "impeccably"        detailed              I  over,
                                                                                                                                                  W-M.         un
                                though, arguably, the disincentives
                       even though,                               disincentives to   to   behave     "impeccably" detailed
                       above are
                       above                                     overseas charities
                                             immediate for overseas
                                 are less immediate                                        than for
                                                                              charities than          charities inside
                                                                                                 for charities             Palm                    governu
                                                                                                                                               Igt'@tfl
                                                                                                                  inside pa   le ,
                                                                                                                                               [friendly
                       tine.   Equally unsurprising
                       tine. Equally       unsurprising is    is the fact that the accusations            against this
                                                                                         accusations against        this charit,
                                                                                                                          charity         .*
                                                                                                                                                  dindesY
                                                                                                                                                      andest
                       are limited to     to spreading
                                               spreading propaganda
                                                              propaganda and funding the families         families Of     SuiCidt 4, -
                                                                                                                     of suicide,             .          since
                       bombers. In the eyes                                                                                                             Since
                       bomber&                  eyes of Hamas
                                                           Hamas and and many Palestinians,
                                                                                   Palestinians, neither of these activ.   activ.              Itranspai
                                                                                                                                                   tyanspax
                       ities constitutes
                       sties  constitutes directdirect military     struggle nor do they
                                                         military struggle                 they compromise
                                                                                                 compromise the charity'
                                                                                                                       charityss               I
                                                                                                                                                   its reput
                       clean reputation In this particular instance,       instance, Hamas's
                                                                                         Hamas's position
                                                                                                      position is supported                       itsjj  violet
                                                                                                                                                l its violet
                       by         rulings of the Charity
                       by the rulings                   Charity Commission
                                                                   Commission for England                     Wales"1 and
                                                                                            England and Wales47          and the ,              1.al
                                                                                                                                                   aj Qaedt
                                                                                                                                                         Qaedi
                       Geneva      Convention. According to Article
                       Geneva Convention.                                   Article 33 33 of the latter,
                                                                                                     latter, no person
                                                                                                                   person in in aa ,               srreptit
                                                                                                                                                 I surreptit
                       conflict situation "may    "may be punished
                                                              punished for  for an offence
                                                                                     offence he or she has    has not person.l                   !-thile
                                                                                                                         person.,                tithe knovknov
                              committed.""'S Refusal
                       ally committed."48            Refusal of humanitarian             assistance to a family
                                                                     humanitanan assistance                     family on on the
                                                                                                                              the                     utua
                                                                                                                                                !cultural
                       grounds that the father (or mother)
                       grounds                                  mother) of the family family hashas committed
                                                                                                     committed a terrorist
                                                                                                                        terrorist                 frboth    both
                                                                                                                                                 Ifor
                      act would thus arguably              constitute aa breach
                                              arguably constitute           breach of  of the  Geneva Convention.fo
                                                                                           the Geneva      Convention.                           ;lacked at
                          The amount
                                 amouint of money  money believed
                                                             believed to be       typically paid
                                                                              be typically                    martyr's family
                                                                                                paid to a martyr's        family                        Thiere
                                                                                                                                                        There
                      ($5,000) is insufficient
                      ($5,000)         insufficient to  to provide a decisive                        volunteer for a suicide
                                                                         decisive incentive to volunteer                                             Iwith
                                                                                                                                                  'with Sau   San
                      operation,
                      operation, at least   least compared to the       the sums
                                                                              sums Saddam Hussein               allegedypo
                                                                                                    Hussein allegedly        pro.                 Ifudas
                                                                                                                                                   Ifundraisi
                                ($25,000)."~ Research,
                      vided (S25,000).49           Research, moreover,          suggests that those
                                                                 moreover, suggests                 those volunteering
                                                                                                             volunteering for                      ,the guen
                                                                                                                                                  ',the     gueri
                      suicide operations
                                  operations are typicallytypically not Poor poor (in some cases   cases even           sons of
                                                                                                            even the sons                          involved
                                                                                                                                                   involved
                      millionaires), generally
                      millionaires),       generally relatively
                                                         relatively well-educated,
                                                                      well-educated, and    and employed
                                                                                                 employed —- thus       drastic,.
                                                                                                                 thus drastic-                     6sd Pak
                                                                                                                                                   'and
                      ally reducing
                      ally   reducing the incentive
                                                  incentive of pecuniary          "re-imbursements." 0 On the
                                                                   pecuniary "re-imbursements."5°                     the basis
                                                                                                                           basis                   through
                                                                                                                                                   ;through
                      of this
                      of   this evidence one cannot              conclusively state
                                                       cannot conclusively         state that providing
                                                                                                  providing money
                                                                                                                money to      die
                                                                                                                          to the                    lysts, the
                                                                                                                                                   Iysts,       the
                      families of martyrs
                      families                         constitutes "intentionally
                                         martyrs constitutes           "intentionally financing
                                                                                             financing terrorism,"
                                                                                                            terrorism," thusthus                    juch as
                                                                                                                                                   such        as t,
                                                                                                                                                                   t.
                      throwing
                      throwing some doubt     doubt on the Dutch government's
                                                                          government's decision
                                                                                              decision to indict
                                                                                                              indict Stichting
                                                                                                                      Stichting                     establishi
                                                                                                                                                    establish'
                      al Aqsa.
                          Aqsa.                                                                                                                     Orooklyn
                                                                                                                                                    3rooklyn
                                                        Al~aeda                                                                                          fghan nn
                                                                                                                                                    ikfghan
                                                                               aedaCharities                                                        charities
                     Al Qaeda                           A          I
                                                                                                                                                    in     fundii
                                                                                                                                                    in fundii
                             logic that cautions
                     The logic              cautions HamasHamas against mixing mixing humanitarian
                                                                                           humanitarian and ""military"
                                                                                                                     military" rF .                 khidamna
                                                                                                                                                    Khidama
                     fundraising is hardly
                     fundraising           hardly persuasive
                                                       persuasive to a network
                                                                             network like al   a] Qaeda's.
                                                                                                  Qaeda's. Al  Al Qaeda has  has                         Such a
                     no extensive        welfare structure
                          extensive welfare                           maintain nor does
                                                     structure to maintain               does it see creating
                                                                                                        creating one as  as one                     paportan
                                                                                                                                                    unportan
                                              2
                     of its core goals."
                                    goals.S1 Its Its primary
                                                      primary goal is to promote                     struggle. Because it isis
                                                                              promote violent struggle.                                             vi~
                                                                                                                                                      oes in it
                                                                                                                                                    rles
                    a iakfiri,
                         takfirt, revolutionary-minded,
                                   revolutionary-minded, and socially      socially isolated organization,
                                                                                                  organization, it has has few .                    as
                                                                                                                                                    as thethe chi
                    incentives
                     incentives to                 heavily in welfare
                                     to invest heavily          welfare networks.
                                                                           networks It    It may raise money
                                                                                                          money to cater to   to                    'fIslarnic i
                                                                                                                                                    `;Islamic
                    its   fighters. 52 It may use charities to raise money
                    its fighters.52                                                            surreptitiously and
                                                                                   money surreptitiously           and at the ~.                    lar brand
                                                                                                                                                           brand
                    same time spread its ideology.'  ideology.53 It may even even use the      benefits chanties
                                                                                          the benefits    charities can offer
                                                                                                                           offer 'the               the jurisd
                                                             4
                    to attract potential
                                    potential recruits"
                                                   recruits54   But its ideology             structure do
                                                                          ideology and structure          do not necessitate
                                                                                                                   necessitate                      s
                                                                                                                                                    sidered         1(
                            maintenance of charitable structures
                    the maintenance                                 structures or local local patronage         networks. Its ,
                                                                                                 patronage network&                       ~ offices offices of    of
                    reputation rests  rests on being a radical          organization successful in
                                                             radical organization                            unconventional
                                                                                                         ini unconventional             '           mate.
                                                                                                                                                    mate. It vi     vi
                    warfare, not on being
                    warfare,                  being a social
                                                         social benefactor.
                                                                  benefactor. Indeed,
                                                                                 Indeed, in contrast to the charities charities                     struggle, 1I
                                                                                                                                                    struggle,
                    affiliated with Hamas,
                    affiliated             Hamas, none  none of the charities
                                                                         charities accused of links   links with al  a] Qaeda                       fuge to    to ra
                    was publicly
                    was     publicly affiliated
                                         affiliated with it.                                                                         '              in thethe earear
                         Unlike    Hamas, al
                         Unlike Hamas,           a] Qaeda
                                                    Qaeda does not occupy  occupy a recognized         position in
                                                                                        recognized position        in aa strug-                     to    collect
                                                                                                                                                     tt• collect
                    gle for national
                                national liberation
                                              liberation that is considered
                                                                      considered legitimate
                                                                                      legitimate by both both a large local ~.,                           flowev
                                                                                                                                                       iHowev
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                                                                                                                                                       /

                                                                                             Terrorism, charities,
                                                                                             Terrorism, charities,and
                                                                                                                   anddiasporas 103
                                                                                                                      diasporas 103
           only one European.
   g that only        European-           constituency and,
                                          constituency      and, internationally,
                                                                    internationally, by aa number of state         state governments.
                                                                                                                          governments. More-  More-
   s to Hamas's resistance
                     resistance —-        ever,   unlike   Hamas,       al  Qaeda
                                          over, unlike liamas, a] Qaeda has55          has    denounced       as
                                                                                                              as  apostate
                                                                                                                  apostate      a number of the
  ye "impeccably"
       "impeccably" detailed              governments that might support
                                          governments                       support it.  it." It is thus less
                                                                                                           less likely       attract funds
                                                                                                                 likely to attract             from
                                                                                                                                       funds from
    ,for
    for charities
         charities inside Pales-.
                            Pales-        friendly governments
                                                     governments than is Hamas,   Hamas, and it has had      had more incentive
                                                                                                                           incentive to develop
                                                                                                                                            develop
  ations against this chanty
  ations                   charity        clandestine ways
                                          clandestine     ways of raising
                                                                      raising money.
   g the families
  ig       families of suicide
                           suicide           Since al   Qaeda     has
                                                     a] Qaeda has no    no reputation
                                                                             reputation to lose as a socially active     active or aa financially
                                                                                                                                        financially
  ans, neither of these activ-
  ans,                      activ-   * tr-ansparent organization, it can abuse
                                          transparent     organization,                 abuse the charitable
                                                                                                      charitable system
                                                                                                                      system without
                                                                                                                                without costs to
   compromise the charity's
                        charity's         Its reputation
                                          its  reputation andand siphon off    off money
                                                                                   money donated for charitable charitable purposes
                                                                                                                               purposes to fund
                      supported
 as's position is supported                             campaigns. This may explain why, in the case of charities
                                         Its violent campaigns.
                                     * its                                                                                   charities linked to
 ;land         Wales"7 and the
  jland and Wales'                           Qaeda, a high percentage of the funding
                                         a] Qaeda,                                          funding was found to have been       been exfiltrated
                                                                                                                                        exfiltrated
  the latter, no person in a             surreptitiously or skimmed
                                         surreptitiously           skimmed off of raised    raised funds
                                                                                                     funds in small percentages             without
                                                                                                                          percentages without
  he or she has not person-              the knowledge
                                                knowledge of the donors."
                                                                        donors.' It may also     also explain
                                                                                                       explain why, wealth and religious/religious/
  tance toto a family on the             cultural affinity apart,
                                                                apart, al al Qaeda has targetedtargeted so many          Saudi charities
                                                                                                                many Saudi        charities since,
                                                                                                                                              since,
 has committed
        committed a terrorist
                         terronst        for    both  political
                                                       political andand    religious      reasons,
                                                                                          reasons, the Saudi state has traditionally traditionally
 Geneva Convention_
 Geneva     Convention.                  lacked adequate        mechanisms to monitor
                                                   adequate mechanisms                  monitor money flows."  flows."5
               martyr's family
 paid to a martyr's                          There are further historical
                                                                       historical explanations
                                                                                      explanations both for al            Qaeda's close
                                                                                                                       a] Qaeda's      close links
   -to vol unteer fora
    to volunteer    for a suicide
                          suicide                Saudi charities
                                         with Saudi      charities andand for its readiness
                                                                                     readiness to mix humanitarian
                                                                                                              humanitarian and          "military"
                                                                                                                                 and "military"
 m               allegedly pro-
 mnHussein allegedly                     fundraising -- reasons
                                                            reasons largely
                                                                        largely lacking in the case of Hamas.       Hamnas. At the heightheight of
 iat those volunteering
 tat          volunteering for                 guerrilla war against thc
                                         the guerrilla                       the Soviet invasion of Afghanistan,
                                                                                                              Afghanistan, the states most
to cases even the sons
ie                       sons of         involved in sponsoring
                                                          sponsoring the mujahideen
                                                                                 mujahideen -- the United States,       States, Saudi Arabia,
                                                                                                                                            Arabia,
II employed              drastic-
    employed - thus drastic-             and Pakistan --encouraged                 fundraising and recruitment
                                                                encouraged fundraising                       recruitment for the struggle
               0
rsements."
 rsements."'      On the basis
                            basis        through
                                         through the globalglobal network
                                                                     network of IslamicIslamic charities.
                                                                                                   charities. According
                                                                                                                 According to various          ana-
                                                                                                                                    various ana-
    providing money to the
 t tproviding                           lysts, the CIA was    was involved both in securing visas for                     radical "preachers"
                                                                                                                     for radical     "preachers"
             terrorism," thus
nancing terrorism,"
nancing                      thus                        Egyptian Shaykh Omar Abd
                                        such as the Egyptian                                  Abd al Rahman and in encouraging encouraging the
lecision       indict Stichting
lecision to indict                      establishment of
                                        establishment        of charities
                                                                 chanties such as the al          a] Kifab
                                                                                                      Kifah Afghan Refugee  Refugee Center in
                                        Brooklyn
                                        Brooklyn —- in both  both instances to facilitate
                                                                                       facilitate fundraising
                                                                                                    fundraising and recruitment for the          the
                                        Afghan      mujahideen.58 The Saudis
                                        Afghan mujahtdeen.SB                    Saudis similarly
                                                                                           similarly encouraged
                                                                                                        encouraged the establishment
                                                                                                                              establishment of
                                        charities in aid of the Afghan
                                        charities                       Afghan struggle,
                                                                                    struggle, some of which were directly involved
                                        in funding
                                              funding the "Arab "Arab Afghans"
                                                                            Afghans" (through,
                                                                                             (through, for instance,
                                                                                                                  instance, the MaktabMaktab itil
 nanitarian          "military"
  nanitarian and "military"             Khidamat of Abdullah
                                        Khidamat           Abdullah Azzam and                     Laden). 59
                                                                                     and bin Laden).59
      Qaed a's. Al
 al Qaeda's,    Al Qaeda has                Such a policy
                                                      policy was       encouraged to spread
                                                                was encouraged                 spread the financial
                                                                                                               financial burden
                                                                                                                            burden but,but, more
                                                                                                                                             more
   it see creating one as one           importantly, to
                                        importantly,      to raise    awareness of the struggle - and of the
                                                              raise awareness                                               sponsoring states'
                                                                                                                       the sponsonng        states'
 dent struggle.
 ,lent             Because it is
        struggle. Because              roles in it. The Saudis,
                                                             Saudis, in particular, were determined to cement           cement their
                                                                                                                                  their position
                                                                                                                                          position
 :di
:d    organization,
      organization,  it has few         as the chief custodians
                                       as                custodians of Islam, Islam, specifically
                                                                                        specifically following
                                                                                                         following the creation
                                                                                                                            creation of of aa rival
                                                                                                                                              rival
  ay raise money to cater to
 lay                                   "Islamic center"
                                       "Islamic     center" in the Islamic Republic of Iran,           Iran, and to spread
                                                                                                                         spread their     particu-
                                                                                                                                   their particu-
 3urreptitiously and at the
surreptitiously                               brand of Islam,
                                       lar brand          Islam, Wahhabism,
                                                                    Wahhabismn, to Central              Asia."0 At that
                                                                                             Central Asia."            that time,     and within
                                                                                                                              time, and     within
 benefits              can offer
            charities can
 benefits chanties         offer       the junsdictions                    particular states,
                                              junsdictions of these particular              states, the mujahideen's        struggle was
                                                                                                          mujahideen's struggle          was con-
                                                                                                                                              con-
 ructure do not necessitate                        legitimate. Thus,
                                       sidered legitimate.          Thus, fundraising
                                                                              fundraising for    for "military"
                                                                                                      "military" purposes
                                                                                                                      purposes through
                                                                                                                                    through the the
   patronage networks. Its
   patronage                           offices       humanitarian networks
                                       offices of humanitarian            networks was   was considered
                                                                                                considered both        acceptable and
                                                                                                                both acceptable       and legiti-
                                                                                                                                            legiti-
 ;cessful in unconventional
cessful       unconventional           mate.
                                       mate. It was only when   when the the mujahideen's,
                                                                               mujahideen's, and    and later al Qaeda's
                                                                                                                     Qaeda's global
                                                                                                                                 global jihadist
                                                                                                                                          jihadist
     contrast to the charities
nn contrast                            struggle,
                                       struggle, became "illegitimate"
                                                               "illegitimate" that groups   groups such as al Qaeda Qaeda turned
                                                                                                                             turned to     subter-
                                                                                                                                       to subter-
 Adof links with al
:d                    a] Qaeda         fuge to raise
                                                  raise funds
                                                         funds --asas exemplified
                                                                         exemplified by     by Ayman      a]  Zawahiri's     reputed
                                                                                                Ayman al Zawahiri's rep uted attempts   attempts
                                       in the
                                            the early
                                                 early 1990s
                                                        1990s to to raise    funds for
                                                                     raise funds      for ala) Qaeda's
                                                                                               Qaeda's armed         operations by
                                                                                                           armed operations             claiming
                                                                                                                                    by claiming
rnized position in a strlig.
;nized                 strug-          to collect money for Afghan widows and orphans.G1
                                        to   collect   money     for   Afghan   widows    and   orphans.
                                                                                                            6
                                                                                                                "


 liate by both aa large local
late                    local              However,
                                           However, two  two factors
                                                               factors limit
                                                                           limit ala] Qaeda's
                                                                                        Qaeda's potential         interest in
                                                                                                    potential interest       in charities,
                                                                                                                                  charities, one
                                                                                                                                               one
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                       104 Jeroen
                       104 Jeroen Gunning                                                                                                                 Fi

                        relating to
                        relating                      general, and the other applying to charities
                                      charities in general,
                                  to charities                                                           charities registered
                                                                                                                       register                       • IJ                 p
                       in the West.            amount of money
                                West. The amount               money that one can               surreptitiously siphon
                                                                                         can surreptitiously          siphon oot
                                                                                                                                                          with
                       from charitable fundsfunds is                  small compared to
                                                         relatively small
                                                      is relatively                             to the amounts
                                                                                                         amounts of money  money~             fi
                                                                                                                                                   4
                                                                                                                                                   f oct iii
                                                                                                                                                                          • •

                                                                                         has     no                                                      who ca
                       to be made elsewhere
                                         elsewhere —    -   particularly
                                                            particularly     if  one                 ideological       or   socio.
                                                                                                                            socin,         .

                                    aversion to using cnminal
                       political aversion                                    sources. Information
                                                               criminal sources.                                concerning al
                                                                                            Information concerning                  al                         7'I
                                                                                                                                                                Whe
                                                                                                                                                                Whe
                                            streams is imprecise, and
                       Qaeda's income streams
                       Qaeda's                                                   the following estimates
                                                                           and the                    estimates must        there. :
                                                                                                                     must there,                          but
                                                                                                                                                 * ' one ha              ha
                       fore be taken as     indications of orders
                                         as indications                        magnitude only. Intelligence
                                                                 orders of magnitude                    Intelligence repotTepomt 1A ". asod                  nd th       thi
                       estimate al    Haramain and other Saudi
                                   a] Haramain                               charities with possible al Qaeda links.J
                                                                    Saudi charities                                            linke:4)t                   tion
                                                                                                                                                           tiot1           to
                                                                                                                                                                          to
                       raise                million annually62
                       raise $40 to 50 million         annually — of which, by           by general acknowledgement
                                                                                                         acknowledgeme, 4                           141.t;.auonS     guxspeh
                                                                                                                                                             ergssirorv
                                                                                                                                                           Asot              onrl2
                                                                                                                                                                         eatyoi
                       the "vast                  [goes] to
                                     majority [goes]
                             "vast majority                  to feed hungry Somali orphans, educate              educate poor "1'                         :Survey
                                        students and help
                       Indonesian students                   help sick Kenyan             children" rather than to
                                                                            Kenyan children"                                 to al  al . -..-             -proxy
                       Qaeda 6 3 A 2002
                       Qaeda.63        2002 report speculated
                                                        speculated (not        without contestation)
                                                                        (not without        contestation) that   that ala] Qaeda
                                                                                                                           Qaeda '4                     4questio
                       received   $30G.-500 million in funding
                       received $300-500                      funding directly "from   "from wealthy
                                                                                                 wealthy businessmen and         and                    tAfghar
                       bankers representing
                       bankers    representing aboutabout 20% 20% of the Saudi            GNP"' Claims
                                                                                Saudi GNP"64           Claims of a similarsimilar                           Mspon
                                    magnitude have been made for the
                       order of magnitude                                           the income from counterfeiting,
                                                                                                               counterfeiting,                                    in B
                       credit card    scams,   falcon     smuggling,
                                                          smuggling,     and    the   diamond
                                                                                      diamond       trade.                                               iport fo
                                                                                                                                                            port
                          Second, Western-based charities
                          Second,                                                      particular set
                                                            charities pose aa particular                         problems for
                                                                                                      set of problems                                  ;y Islamisist
                       a] Qaeda
                      al             Against the $40-50 million
                           Qaeda Against                          million in estimated annual                donations to
                                                                                                   annual donations           to al a]                     tanced
                                                                                                                                                           tanced
                                       estimates for charities
                       Haramain, estimates
                       Haramain,                                       believed to be linked
                                                           charities believed                 linked to al   a] Qaeda
                                                                                                                 Qaeda in   in the                    ; views
                                                                                                                                                            views cli
                                                                           5 if Jean-Charles Brisard              is right   in   his                       Inosqui
                                                                                                                                                           I2slaomxu
                                                                                                                                                            m
                                States are a
                       United States             mere    $6-9
                                                         $6--9  minllion."
                                                                million.65    If  Jean-Charles        Brisard     is right   in
                                          charities used by a]
                      estimate that charities                      al Qaeda channel only         only 10 percent of their      their                        2004mi
                                                                                                                                                               o rn
                      income to a]      Qaeda, the US
                                     al Qaeda,               charities would provide
                                                        US charities                 provide al  a] Qaeda             $600,000-
                                                                                                    Qaeda with $600,000-                                  Icooper;
                                                                                                                                                            cuaeair:
                                             Compared to
                      900,000 per year Compared                        sums believed to be raised from
                                                              to the sums                                                    alter.
                                                                                                               from the alter-                     * ning   Wing a]          al
                               sources listed above,
                      native sources                          such   contributions
                                                                     contributions          from    the   charities
                                                                                                         charities      based
                                                                                                                        based      in
                                                                                                                                   in                       Ixague             e
                                      States and the West
                      the United States                               small. The strict
                                                           West are small.              strict controls typically
                                                                                                            typically applied                      * stated stated"
                                           Western states
                           charities in Western
                      to charities                                         important factor, and the absence
                                                                 are an important
                                                        states are                                                   absence of    of                       to
                                                                                                                                                            to "r     "rad
                      historical     connections with oil-rich
                      historical connections                                                   another. However,
                                                                            families is another.
                                                                oil-rich families                            However, there   theire.                       ated
                                                                                                                                                            ated            in
                                                                                                                                                                            in
                      appear to be additional
                      appear                                reasons why al
                                           additional reasons                    a] Qaeda has
                                                                                      Qaeda       has   had     difficulties
                                                                                                                difficulties in     in                      expressn
                                                                                                                                                            e  x     pA  r emss
                      infiltrating
                      infiltrating    Wester-n-based
                                      Western-based        charities.
                                                           charities.                                                                                                 A    mc
                                                                                                                                                             level in
                                                                                                                                                            level            in
                                                                                                                                                             succeed
                      European
                      European Muslims,                         alienation, and al Qaeda
                                     Muslims, political alienation,                           Qaeda                                                          Arab, u             u
                                     reasons al               appears to have infiltrated
                                                a] Qaeda appears                                              relatively small
                                                                                      infiltrated only a relatively                                          embedc
                      One of the reasons
                                      European -registered Islamic charities    charities may be the make-up    make-up and                                  based
                                                                                                                                                             based I              1
                      number of European-registered
                                                         Muslims and the political environment
                                           Europe's Muslims
                      socialization of Europe's                                                environment they          inhabit.
                                                                                                                         inhabit.                            for
                                                                                                                                                             for          the
                                                                                                                                                                          the      )I
                                                     though
                                             that, though       the   conditions       exist   for  Muslims       in  Europe
                                                                                                                      Europe       to                         the
                                                                                                                                                             the           Tun
                                                                                                                                                                           Tun
                            hypothesis is that,
                      My hypothesis                                  conditions                     Muslims
                                                                          iflustrated by the fact that the perpet-        perpet-                             workin]
                                                                                                                                                              workint
                      become radicalized
                                 radicalized - as    as graphically
                                                          graphically illustrated
                                                                         bombings were British-born
                                                                2005 bombings                      British-born European                                      sive an.
                                                                                                                                                             save            an.
                      rators of the London 7 July
                      rators                              July 2005
                                                                                    methods are       nevertheless, at least
                                                                                                  are nevertheless,           least                           Europe
                                                                                                                                                              Europe



                                                                                                                                                               {Ho
                                         Qaeda's ideology and chosen methods
                      Muslims —- al Qaeda's
                                                                         expenences and ideological frameworks     frameworks                                         The f
                                                                                                                                                                      The
                      currently, too dissonant with the life experiences
                      currently,
                                       majority of European
                      of the vast majority                              Muslims to become
                                                         European Muslims                  become their focus of alle-         alle-                          shift in
                                                                                                                                                               shift          in
                                                                                                funding                   is  con-
                                                                                                                               con-                            cone] us
                                                                                                                                                              conclus
                      giance."
                      giance."    Because     the   number      of  charities
                                                                    charities     open
                                                                                  open     to  funding     a]  Qaeda      is
                      sequently likely to be small,
                      sequently                    small, al a) Qaeda
                                                                Qaeda has to surreptitiously              infiltrate charities
                                                                                     surreptitiously infiltrate
                      if it is to raise funds this  this way. Because this      this is aa laborious         process -— made
                                                                                              laborious process             made                              lon
                                                                                                                                                              o   inm      susy
                                                                                                                                                                           sieisv;
                      if                                                                                                                                       tions              h,
                                                           procedures     (and                     vigilance)    created
                                                                                                                 created      since
                                                                                                                             since                             tions              hi
                              difficult by
                      more difficult      by the new
                                                   new procedures                  increased       vigilance)
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                                                                                                                         charities.'and
                                                                                                              Terrorism, charities,'
                                                                                                              Terrorism,             and diasporas 105
                                                                                                                                         diasporas 105

,r applying         charities registered
    applying to charities                                   September 2001 — al               Qaeda is more likely to focus                its efforts on activities
                                                        ll
                                                        11~ September         2001 - a)        Qaeda is more likely to focus its efforts on activities
nie can surreptitiously
ne         surreptitiously siphon off   ofi'             ,th more
                                                    r with              immediate          benefits     such   as credit
                                                               more immediate benefits such as credit card scams or          card   scams      or smuggling,
                                                                                                                                                   smuggling, or on    on
apared to the
apared        the amounts
                    amounts of money                                  that    are   absolutely       essential    to   its  survival    such     as  gaining    recruits
                                                                                                                                                                recruits
                                                        itctivities that are absolut .ely essential to its survival such as gaining
                                                        activities
ie has no ideological
le              ideological or soda socij..             who can     carry out  out operations
                                                                                      operations from         the inside
                                                                                                       from the    inside (e.g.      the London
                                                                                                                              (e.g. the                bombings).
                                                                                                                                           London bombings).
                                                               can carry
                         concerning al
        Information concerning
ces. Information                         ai                         analyzing the
                                                           When analyzing             the level    of support
                                                                                            level of  support for for alal Qaeda
                                                                                                                           Qaeda amongamong Europe's          Muslims,
                                                                                                                                                 Europe's Muslims,
    following estimates
e following     estimates must there-
                                    there,           * one hashas toto distinguish
                                                                          distinguish between              sympathy for
                                                                                              between sympathy            for al   Qaeda's anti-Americanism
                                                                                                                                a] Qaeda's        anti-Americanism
?nitude     only. Intelligence
3,nitude only,                    reports
                   Intelligence reports                       the plight
                                                        and the                     Muslims in
                                                                              of Muslims          in conflict    zones such
                                                                                                      conflict zones       such asas Iraq,     wholesale subscrip-
                                                                                                                                       Iraq, wholesale        subscrip-
                                                                    plight of
 ties with possible al QaedaQaeda links
                                     links                         al  Qaeda's         ideology
                                                        tion to al Qaeda's ideology and methods,     and    methods,      and
                                                                                                                           and   readiness
                                                                                                                                 readiness       to carry out oper-oper-
hi,
 h, by general acknowledgement,
                    acknowledgemnent,                             That, for
                                                        aions That,
                                                     * ations.              for example,
                                                                                   example, 88 percent
                                                                                                    percent of     British Muslims
                                                                                                                of British     Muslims questioned
                                                                                                                                              questioned in a 2002
 Somali orphans, educate
 Somali                   educate poor                  survey believed al
                                                        survey                    a] Qaeda to be     be justified in attacking
                                                                                                                          attacking Britain is       is not a reliable
      children" rather than to al
 n children"                             al                            measuring           the
                                                        proxy for measuring the latter two levels
                                                        proxy                                    latter   two   levels    of
                                                                                                                           of  support
                                                                                                                               support      -  particularly
                                                                                                                                             -particularly       as this
                                                                                                                                                                 as
        contestation) that al
 out contestation)             a] Qaeda
                                  Qaeda                 question
                                                        question       was
                                                                      was      asked        after    Britain     had
                                                                                                                 had     initiated      military
                                                                                                                                        military      action
                                                                                                                                                      action    against
  "from wealthy businessmen
  "from               businessmen and and               Afghanistan with
                                                        Afghanistan        with 56   56 percent
                                                                                          percent of of the    respondents not
                                                                                                         the respondents                believing al
                                                                                                                                  not believing       a] Qaeda
                                                                                                                                                          Qaeda to to be
                                                                                                                                                                       be
 di GNP.""
      GNP."' Claims
                  Claims of a similar
                                  similar               responsible for
                                                        reSponsible             the events
                                                                          for the     events of of 11    September.' 7
                                                                                                    II September.67
 ie income from
 le             from counterfeiting,
                        counterfeiting,                        Britain only a few fringe Islamist groups have expressed
                                                           In Britain                                                                                  qualified sup-
                                                                                                                                        expressed qualified
 diamond trade.                                     * port     for   al   Qaeda.GB   6 The majority of both
                                                                          Qaeda . 1 The          majority          both      mainstream
                                                                                                                             mainstream        Muslim             larger
                                                                                                                                                            and larger
 particular               problems for
  particular set of problems                                        organizations, as well as
                                                        Islamist organizations,                                         mosques, have
                                                                                                          as most mosques,              have unequivocally
                                                                                                                                                unequivocally dis-
  imated annual
  'mated               donations to al
             annual donations           a]                        themselves from al
                                                        tanced themselves                        Qaeda and sought to
                                                                                              a] Qaeda                       to marginalize
                                                                                                                                 marginalize those expressing
                                                                                                                                                            expressing
                                                                                 69
 )7 be linked to al   a] Qaeda in  in the           * views     close    to  it.'
                                                                             it.    In   the   Netherlands,
                                                                                               Netherlands,       mainstream
                                                                                                                  mainstream         Muslim       organizations and
                                                                                                                                     Muslim organizations           and
  n-Charles Brisard is right in
  n-Charles                         in his             mosques have similarly                 condemned 11
                                                                              similarly condemned               I11September
                                                                                                                    September —- and more recently, the
  annel only 10 percent of their                       2004 murder of       of Dutch filmmaker Theo van Gogh -- and typically                   typically sought
                                                                                                                                                             sought to to
                             $600,000-
           a] Qaeda with $600,000-
   *ovide al
  -ovide                                                cooperate with the government
                                                       cooperate                                              marginalize al Qaeda's influence
                                                                                       government to marginalize                                  influence by ban-
  ved to be raised
               raised from the alter-                  ning al a] Qaeda           sympathizers.' The 1,000-strong
                                                                    Qaeda sympathizers.70                        1,000-strong Islamist Arab         Arab European
                                                                                                                                                             European
                   charities based
       from the charities
   is from                    based in  mn             League      called the 11
                                                       League called                      September attacks
                                                                                     II September          attacks a "sweet         revenge" but its leader has
                                                                                                                         "sweet revenge"
                                                                                                           1
   strict controls               applied
          controls typically applied                   stated "we              against violence.""
                                                                 "we are against             violence.s71             three charities, two of which linked
                                                                                                              Only three                                         linked
   nt factor, and      the absence
                 and the    absence of                      "radical" mosques, and an unidentified
                                                       to "radical"                                     unidentified number of fringe mosques         mosques (situ-
          another. However, there
     is another.                   there               ated in in private homes)homes) were, at the time of writing,                               investigation for
                                                                                                                             writing, under investigation
   laeda                difficulties in
   iaeda has had difficulties          in              expressing views close to bin Laden's.72
                                                       expressing                                    Laden's."7
                                                                       direct, though by no
                                                           A more direct,                                means exact, indicator
                                                                                                    no means                 indicator of al   a] Qaeda's
                                                                                                                                                   Qaeda's support
                                                       level inin Europe can be found in the number of European volunteers                         volunteers it has
                                                       succeeded in reciruiting
                                                                           recruiting The typical al           a) Qaeda recruit residing in Europe       Europe is an an
   al Qaeda                                                     usually of North African
                                                      Arab, usually                          African descent,                     migrated, and relatively
                                                                                                                     recently migrated,
                                                                                                         descent, recently                              relatively un-
  51trated only a relatively
  iltrated           relatively small                  embedded in the local        local Muslim          community 73 The profile
                                                                                              Muslim community.73                      profile of the European-
                                                                                                                                                           European-
                       make-up and
  ies may be the make-up
  les                                                 based
                                                       based 11      September bombers matches this description The
                                                                 II September            bombers       matches                               The same holds true
        environment they inhabit.
  tcal environment
  teal                       inhabit.                             perpetrators of the 2004 Madrid bombing,
                                                       for the perpetrators                                         bombing, the alleged             perpetrators of
                                                                                                                                         alleged perpetrators         of
            Muslims in Europe to
  ast for Muslims
  ust                               to                 the Tunisian bombing of 2002,           2002, and most of the       the cells    arrested on
                                                                                                                                cells arrested           suspicion of
                                                                                                                                                    on suspicion      of
     by the fact that the perpet-
                              perpet-                 working
                                                      working on behalf of al             a] Qaeda.
                                                                                              Qaeda. Indeed,         according to one
                                                                                                          Indeed, according                     of the
                                                                                                                                          onle of         most exten-
                                                                                                                                                    the most     exten-
   were British-born European                                 analyses of the known profiles
                                                       sive analyses
                                                       sive                                          profiles of al Qaeda suspects apprehended      apprehended in     in
                                                                                                                                                                      7
   iods       nevertheless, at least
   cods are nevertheless,                             Europe
                                                       Europe     and     the    United      States,   87
                                                                                                       87   percent    of   those   studied    were immigrants
                                                                                                                                               were    immigrants.74    "
     and ideological frameworks
   53and                                                  The fact      that the 7 July London bombers
                                                                 fact that                                                        British-born may
                                                                                                             bombers were British-born               may point to   to aa
     become their focus of alle- alle-                shift in al
                                                      shift       a] Qaeda's
                                                                      Qaeda's fortunes,            although we should be wary
                                                                                     fortunes, although                                           jumping to
                                                                                                                                      wary of jumping             hasty
                                                                                                                                                              to hasty
                     Qaeda is con-
        funding al Qaeda
    to funding                                        conclusions (after all,
                                                      conclusions                    all, the 21  21 July London bombers   bombers were  were not      British-born)
                                                                                                                                                not British-born)
    eptitio usly infiltrate charities
   eptitiously                                        However, taken
                                                      However,        taken together
                                                                                 together with         the 2004 arrest
                                                                                                with the            arrest of eight British-born              Muslims
                                                                                                                                           British-born Muslims
      laborious process —- made
    a laborious                                             suspicion of
                                                      on suspicion                planning aa terrorist
                                                                            of planning                          attack in Britain (although
                                                                                                    terrorist attack                        (although the       allega-
                                                                                                                                                           the allega-
          vigilance) created since
   ased vigilance)                                             have not
                                                      tions have       not yetyet been        proven) and the fact that a number
                                                                                     been proven)                                       number of   of those    behind' •
                                                                                                                                                        those behind




                                               4j
                                               ck
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                        Jeroen Gunning
                    106 Jeroen
                    the ritual murder of TheoTheo van Gogh                Netherlands were Dutch citizens
                                                          Gogh in the Netherlands                             citizens         uiridividuals
                                                                                                                                "ludividuals
                                                              Netherlands, these data seem to point to
                       Moroccan descent born in the Netherlands,
                    of Moroccan                                                                                    to aa       values and t
                                                                                                                               values
                    growing
                    growing constituency for al Qaeda -— althoughalthough the exact relationship
                                                                                           relationship between                cove    both tltI
                                                                                                                                oe both
                    what is usually
                              usually descnbed
                                        described as al  a] Qaeda
                                                            Qaeda and•
                                                                     and. these European
                                                                                   European militants is         is far
                                                                                                                     far       this conflict.
                                                                                                                                     conflict.
                           clear."5 Equally
                    from clear.75    Equally portentous
                                               portentous may may be the fact that a number      number of  Of those •'        tioti,2 the p
                                                                                                                               tion,"        fn
                    providing
                    providing logistical support for al         Qaeda cells, as well as a number
                                                             a] Qaeda                                number of   of alal       person ality,
                                                                                                                                        ality,
                                                                       converts to
                                                             "white" converts          Islam.' 6                               person
                    Muhajiroun's recruits, have been "white"
                    Muhajiroun's                                                   to lslam.i6                                orientations
                       Nevertheless, until now, the average
                       Nevertheless,                                profile of those arrested on suspicion
                                                          averagc profile                                  suspicion       K reformism a
                    of working
                       working for al Qaeda      and those known to have died as al
                                         Qaeda and                                           a] Qaeda operatives
                                                                                                          operatives       *  typically ass
                    suggests that al Qaeda has largely failed to recruit among                     European-born
                                                                                      among European-born                    .3 predispose
                                                                                                                             2   predisposi
                                        certainly to the
                    Muslims —- and certainly            the level necessary
                                                                    necessary to infiltrate thousandsthousands of     of     (though not I
                   charities.
                    charities. Given ala] Qaeda's    isolationist, absolutist ideology
                                          Qaeda's isolationist,                  ideology and practices,
                                                                                                     practices, andand       be  stimulate(
                                                                                                                              be stimulate(
                   in view
                       view of the profile of past al   al Qaeda
                                                           Qaeda recruits, support
                                                                               support for al    a] Qaeda
                                                                                                     Qaeda can be    be      senlse of pers
                                                                                                                             sense
                   expected to
                   expected    to be highest among those who feel socially or politically isolated           isolated        "reference gr
                         are in search
                   and are       search of an absolutist
                                                absolutist identity (in t-hethe case of the 77 July bombers,
                                                                                                           bombers,          convince
                                                                                                                             convince the  the
                   isolation appears
                   isolation   appears to have occurred
                                                    occurred in in the mind,
                                                                        mind, rather than  than at the physical
                                                                                                            physical         cacy will .. ..I1
                   level). Those who
                   level).           who are
                                           are socially
                                                socially or politically      embedded are
                                                               politically embedded           are unlikely
                                                                                                    unlikely to be   be      individual's
                                                                                                                             individual's
                   attracted by an isolationist ideology
                   attracted                          ideology asas their identity            ideological prefer.
                                                                           identity and ideological           prefer-              identity o
                                                                                                                             the identity
                                                                      community. There may
                   ences are bound up with their place in the community.                         may be a tension                       disson
                                                                                                                                The disson
                   between their identity                                identity of the majority popula-
                                                           (presumed) identity
                                     identity and the (presumed)                                                                       intellig
                                                                                                                             more intellig
                           They may feel politically
                   tion They                  politically isolated outside of their community,    comimunity, yet   yet      although it m
                                                                                                                             although
                   remain
                   remain sufficiently    embedded within their own communities
                             sufficiently embedded                             communities not to feel the                   the following
                                                                                                                                   following
                          for a radical
                   need for                        Moreover, their level of social integration
                                          break. Moreover,
                                 radical break.                                                             (even ifif
                                                                                            integration (even                Islamnism
                                                                                                                             Islamism is    is aa
                   limited
                   limited to their "own"      sub-community) makes them
                                      "~own"~sub-community)                          more likely
                                                                              them more                        averse
                                                                                               likcly to be averse           nationally, an  thi
                                              because integration usually encourages
                   to absolutist notions because                                    encourages compromise.
                                                                                                      compromise             work in the II
                                                                   dissatisfied with both their own com-
                   Conversely, those who feel profoundly dissatisfied                                                        changes have
                                                                                                                             changes
                   munity and the larger political        community are
                                              political community       are more
                                                                             more likely               attracted by
                                                                                     likely to be attracted         by       (with a conco
                                                                                                                                        conco
                   an isolationist, absolutist ideology       Muslims who are
                                                  ideology Muslims                   un-embedded and alien-
                                                                                are un-embedded                 alien-       weakening
                                                                                                                             weakening of
                                                              communities and their host societies
                         fromn both the local Muslim communities
                   ated from                                                                                      are,
                                                                                                      societies are,                  identity
                                                                                                                           * racial identity
                                        logic, most likely to be open to al
                   according to this logic,
                   according                                                    al Qaeda's
                                                                                   Qaeda's ideology                          lar   "national
                                                                                                                             ler "national
                                                                                                                             Prior to the 1I
                                                                                                                             Prior
                                                                                                                             ceived
                                                                                                                             ceived politic
                                                                                                                                        politic
                             and identity
                   Terrorism and identity                                                                                    Britain,    there
                                                                                                                             Britain, there
                     theoretical framework
                  A theoretical   framework thatthat captures                notions of isolation and
                                                      captures these twin notions                     and                    Pakistani,
                                                                                                                             Pakistani, Ba   Ba
                  identity, and may provide          beginnings of an insight into al
                                       provide the beginnings                         a] Qaeda's failure                   * the category
                                                                                                                                   category
                                               European Muslims,
                                      among European
                  to recruit widely among                                     theory of political
                                                            Muslims, is the theory        political alien-                   Protestants
                                                                                                                             Protestants ar   aT
                         developed by
                  ation developed    by David   Schwartz in his 1970s
                                        David Schwartz                              political activism in
                                                                         study of political
                                                                   1970s study                          in                 * been re re-introc
                                                                                                                                       -intros
                  the United States.                   Schwartz postulates
                                                work, Schwartz
                               States. In this work,                                   individual's level
                                                                  postulates that an individual's                            tral
                                                                                                                             tray role
                                                                                                                                   role in
                                                                                                                                         in pu
                                                                                                                                             pu
                  of political alienation influences                 propensity towards political vio-
                                                         his or her propensity
                                            influences his                                            vio-                   real,  immigrai
                                                                                                                             real, immigrai
                  lence.
                  lence. Schwartz             political alienation as a function of three variables:
                                     defined political
                          Schwartz defined                                                      variables;                   of religious
                                                                                                                                 religious d   d
                  perceived                                              personal political inefficacy,
                                                    conflict, perceived personal
                  perceived threat from value conflict,                                        inefficacy                    according
                                                                                                                             according to   tolI1
                                                        77
                                  systemic   inefficacy
                  and perceived systemic ineffrcacy.77     The  latter two
                                                                       two  variables describe the level
                                                                            variables                                           The failure
                                                                               some extent the second,
                                                            variable, and to some
                  of isolation a person feels. The first variable,                                second,                     ims gen
                                                                                                                             bens   generally
                                                                                                                                         many,
                  are linked to a person's notion of identity.                                                               in
                                                                                                                             in Part
                                                                                                                                 part andand
                     According to Schwartz,
                     According                                            is expected to occur when
                                                              alienation is
                                      Schwartz, political alienation                                 when                    alienation. Or
                                                                                                                             alienaion.      Or
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                                       •f• tr'•
                                            Net                                                        Terrorism, charities,
                                                                                                       Terrorism, charities,and diasporas
                                                                                                                                diasporas 107
                                                                                                                                          107
herlands werewere Dutch citizens                                       perceive a fundamental
                                                     individuals perceive
                                                  4402dividuals                        fundamental conflictconflict between their basic politicized   politicized
these data seem to point to a                     o tos and those exhibited in the               the polity, under the conditions                that
                                                                                                                                                 that   they
                                                                                                                                                        they per-
                                                                                                                                                              per-
                                                        uJes   and   those     exhibited                         under the be
                                                                                                       polity,system
                                                                                             in political                        conditions
ie exact relationship
ie          relationship between                  ceivee both
                                                  :j                themselves       and    the                            to
                                                            both themselves and the political system to be inefficacious to reduce   inefficacious     to  reduce
      European militants isis far
se European                                                                                                              leads to to aa "behavioral
                                                           onflict." This
                                                  this cconflict."
                                                  this                   This sense
                                                                                 sense ofof political    alienation leads
                                                                                            political alienation                        "behavioral orienta-
                                                                                                                                                         orienta-
act -that
       that aa number of       those •,;
                           of those               o n," the
                                             1 tion,"              particular       nature    of   which    is  influenced       by
                                                              the particular nature of which is influenced by socioeconomic status,   socioeconomic        status,
, as well as a numbernumber of of al
                                   al             personality,
                                                   ,. eroality        and the the process by which alienation   alienation was   was reached.         Behavioral
                                                                                                                                        reached. Behavioral
                6
 ts to Islam."
 is     Islam.76                                  fnientations encompass
                                                                       encompass aa scale            from conformity,
                                                                                            scale from       conformity, ritualism,
                                                                                                                                 ritualism, and and retreat to
                                                 oretations
  those arrested
          arrested on suspicion
                         suspicion               reformism          and,     fi nally,  rebelliousness.        Only    the    latter    type   of   orientation,
                                                 reformism and, finally, rebelliousness. Only the latter type of orientation,
   died  as al
   died as   a] Qaeda operatives
                        operatives                typcally associated
                                                  typically       associated with  with aa highhigh level
                                                                                                        level of of perceived
                                                                                                                      perceived threatthreat to values
                                                                                                                                                     values and
 !ruit among European
 Tuit              European-bn-born                    predisposition to
                                                 a predisposition                  participatory activism,
                                                                               to participatory         activism, may  may lead to     to political
                                                                                                                                           political violence
                                                                                                                                                         violence
        infiltrate thousands of
    to infiltrate                of              (though not     not necessarily       terrorism). For this
                                                                      necessarily terrorism).                 this toto occur,
                                                                                                                        occur, the the orientation
                                                                                                                                        orientation needs to
   ideology and practices,      and
                    practices, and               .be stimulated by an
                                                 be                                intensification of the perceived
                                                                               an intensification                   perceived threat to values or the
 upport for al   a] Qaeda can
                            can be
                                 be              sense of personal and systemic                     inefficacy, as well as by
                                                                                      systemic inefficacy,                               the emergence
                                                                                                                                     by the   emergence of a
 cially or politically
 cially       politically isolated
                           isolated              -reference group"
                                                 "reference         group" (counter-elite,            counter-group, counter-culture)
                                                                                 (counter-elite, counter-group,              counter-culture) which   which can
  case of                bombers
         of the 7 July bombers,                  convince the     the Individual
                                                                       individual that "his                    conflict and his perceptions
                                                                                              "his value conflict                      perceptions of ineffi-
                                                                                                                                                            ineffi-
  rather than at the  the physical               cacy willwill .. . bebe reduced           reversed" by his identification
                                                                           reduced or reversed"                     identification with  with the
                                                                                                                                               the group. The The
 ibedded are
[bedded      are unlikely to be  be              individual's investment in the political       political system is     is withdrawn and reinvested
                                                                                                                                                  reinvested in
  tity and
 itity  and ideological
              ideological prefer-                       identity of the dissident
                                                 the identity
                                                 the                                         organization 78
                                                                                dissident organization           "~
 my.    There may be a tension
  uty. There               tension                    The dissonance
                                                              dissonance between European    European Islamists
                                                                                                             Islamists and and al  a] Qaeda
                                                                                                                                       Qaeda can be made
                          popula-
  ty of the majority papule-                     inore
                                                more         intelligible
                                                             intelligible       with   reference
                                                                                        reference      to   Schwartz's
                                                                                                            Schwartz's         theoretical
                                                                                                                               theoretical      framework
                                                                                                                                                framework —-
! .ofof their community, yet                    although it must be emphasized    emphasized that in the absence   absence of extensive, reliable  reliable data
  :immunities not to feel the
 immunities                                             following explanation
                                                the following           explanation is                   conjectural. The evolution of European
                                                                                              largely conjectural.
                                                                                           is largely
    social integration    (even if
           integration (even                     Islamnism is
                                                Islamism          is a function                     international and domestic
                                                                         function of both international                         domestic changes.
                                                                                                                                              changes. Inter-
  ,immore likely to be averse                   nationally,
                                                nationally, these include                               Islamism as a popular
                                                                             include the rise of Islamism                    popular ideological frame-   frame-
    encourages      compromise.
     encourages compromise.                     work in    in thethe Middle East and elsewhere.   elsewhere. Most prominentprominant among  among domestic
                                                                                                                                                       domestic
    with both their own comn-
   with                      com-               changes have     have been the shift from a migrant to a post-migrant                               perspective
                                                                                                                                post-migrant perspective
  re likely to be attracted by  by              (with aa concomitant rise in expectations   expectations towardstowards the "host"                       often, aa
                                                                                                                                             society; often,
                                                                                                                                   "host" society;
  -e  un-embedded and alien-
   e un-embedded            alien-              weakeing of ties
                                                weakening               tics to the parental        "homeland;"" 9 and the shift from a cultural/
                                                                                       parental "homeland;""                                            cultural/
  id                societies are,
  id their host societies                       racial identity
                                                racial                          self-consciously Islamic identity (as
                                                           identity to aa self-consciously                                            opposed to
                                                                                                                                (as opposed       to aa particu-
                                                                                                                                                        particu-
    Qaeda's ideology
   Qaeda's                                                                              among a significant
                                                                           identity) among
                                                        "national" identity)
                                                lar "national"                                                                           Europe's Muslims.
                                                                                                                         sector of Europe's
                                                                                                        significant sector                             Muslims.
                                               Prior
                                               Prior to the 1990s,   1990s, both MuslimsMuslims of    Of Migratory
                                                                                                          migratory descent and officialdom officialdom con-
                                               ceived political and social         social exclusion in cultural or racial/ethnic    racial/ethnic terms. In
                                                Britain, there  there was no official category of "Muslim"        "Muslim" in public surveys,   surveys, onlyonly
  notions of isolation and
  notions                                   * Pakistani,
                                               Pakistani, Bangladeshi,
                                                                   Bangladeshi, etc.,  etc., until the census census of 2001. 2001. In the Netherlands,
                                                                                                                                                 Netherlands,
 ,ht into
 ;ht          Qaeda's failure
      into al Qaeda's                          the category of "religion,"   "religion," originally introduced                        differentiate between
                                                                                                              introduced to differentiate
   theory of political alien-               * Protestants and       and Catholics,
                                                                            Catholics, waswas removed from                   census in 1983
                                                                                                               from the census             1983 and has not
 dy ofof political activism in
                             ini               been re-introduced
                                                         re-introduced although the category        category "Islamic"
                                                                                                                  "Islamic" has   has come
                                                                                                                                        come to playplay aa cen-
                                                                                                                                                             cen-
            individual's level
   that an individual's                     * tral role in public discourse   discourse.'~  80 Though exclusion and        and cultural       alienation were
                                                                                                                                  cultural alienation        were
       towards political vio-
  ity towards                                  real,     immigrants did
                                               real, immigrants              did not                   alienation in the overtly existential
                                                                                   not cast their alienation                                existential terms
  iction of three variables:
                     variables:                       religious discourse
                                              of religious           discourse until until the mid- to late-1980slate-] 980s (the precise date      date varies
                                                                                                                                                          varies
  tonal             inefficacy,
  ;onal political inefficacy,                  according to
                                              according           to location).81
                                                                      location).i'
  Lnables describe the level
  Lriables                                                  failure of
                                                     The failure        of al
                                                                            a] Qaeda
                                                                                Qaeda to  to gain widespread           support, not just among
                                                                                                      widespread support,                       among Mus- Mus-
   some extent the second,
                       second,                 Iins generally,
                                              lims      generally, but         among European Islamists
                                                                         but among                       Islamists in particular, can be explained,  explained,
                                              inl part and
                                              m                        tentatively, with
                                                                and tentatively,         with reference               Schwartz's theory
                                                                                                  reference to Schwartz's               theory of  of political
                                                                                                                                                       political      A
             occur when
  xpected to occur
  xpected                                     alienation. On
                                              alienation.          On the the one
                                                                                one hand,
                                                                                     hand, there       are sufficient
                                                                                               there are     sufficient structural
                                                                                                                           structural inequalities
                                                                                                                                           inequalities for for aa
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                           108
                           108      Jeroen
                                    Jernen Gunning
                            significant section of European
                            significant                                                     experience both personal
                                                                          Muslims to experience
                                                           European Muslims                                           personal and.  an4,                 .


                                     inefficacy. In the UK,
                            system inefficacy.                UK, 40 percent of Muslim   Muslim households
                                                                                                    households are alleg    allegj,
                           classified below the poverty
                           classified                                               unemployment among
                                                                          while unemployment
                                                         poverty line, while                                          British hue:
                                                                                                          among British           M,,.;,
                                                                                                   average.     Meanwhile,         eda..                   - V
                                 is three
                            lrns is
                            lims             to  four   times   higher   than    the  national
                                                                                       national    average.     Meanwhile, edit_
                           cational achievement,
                           cational                        according to one report,
                                       achievement, according                        report, isis only 5 percent below    belo-w the  tb,,                    t
                                                                                                                                                           •
                           average,   leading to an acute tension between
                           average, leading                                   between expectation and achievements: achievement.A                 ,
                                                                                                                                                           S tu
                            Finally, levels of political representation
                                                                representation are                             representation o
                                                                                                below the representation
                                                                                     are far below                                                    f'N

                           Muslims
                           Muslims in   in the               population, both in
                                            the general population,                       Britain and in the
                                                                                      in Britain                      Netherland %.
                                                                                                                the Netherland%                     Ot
                           Even those who have escaped     escaped such economic                                       marginaliza., 4
                                                                                                   educational marginalu.
                                                                              economic and educational                                                      • (1)
                           non may not be
                           tion                                             non-Muslim society
                                              be fully accepted by non-Muslim                                           example, a]
                                                                                                society (see, for example,              01                     Ot
                                                              Moussaoui)," or may
                                                Zacarias Moussaoui),"
                           Qaeda affiliate Zacanas
                           Qaeda                                                       may continue                   aggrieved o
                                                                                              continue to feel aggneved                           ~            hlu
                                                community.
                           behalf of their community.                                                                                                           in
                               Whether or not this leads
                               Whether                                                                 hinges, at least
                                                                                       alienation hinges,
                                                             leads to political alienation                             least withi
                                                                                                                                within. 1i vy                   iif
                           Schwartz's framework,
                           Schwartz's      framework, on                  perception of value threat,
                                                             on one's perception                        threat,     which      in  tunim
                                                                                                                               in turn
                           is influenced by
                           is                            make-up of one's identity Those who, in response
                                              by the make-up                                                            response to     to
                           globalization and the post-migrant turn,
                           globalization                                        turn, have
                                                                                        have adopted             self-conscousy
                                                                                                 adopted a self-consciously                                      Q
                           "Islamic" identity
                           "Islamic"                           remaining secular
                                         identity while remaining                             outlook,"4 do not inevitably
                                                                               secular in outlook,"                       inevitably !.,'                        at
                                                                                                                                                                at
                           experience "a
                           experience         fundamental conflict
                                          "a fundamental                    between their
                                                                 conflict between        their basic    politicized values
                                                                                                 basic politicizcd       values and and                          in
                                                                                                                                                                 m
                                   exhibited in the polity"
                           those exhibited                                    reflected in the
                                                            polity" - as reflected              the fact that 67         percent of
                                                                                                                    67 percent         of                        cc
                                                                                                                                                                 ce
                           British Muslims interviewed                      aforementioned 2002
                                                   interviewed in the aforementioned                                        patriotic
                                                                                                   2002 survey felt patriotic                                     tit
                                                                                                                                                                  tit
                           towards Britain (only
                           towards                (only 1010 percent behind the national                             According toto
                                                                                                       average). According
                                                                                          national average).                                                      Ei
                                                                                                                                                                  Et
                                                                                   European        Muslims       is         likely     to               .re
                                                                                                                                                        5         vii
                           Schwartz's
                           Schwartz's      framework,
                                           framework,        this  group      of   European        Muslims       is   not   likely     to
                           become involved in                        violence." For European Islamists, the sense
                                                     in political violence."                                                      sense                             i
                                                                                                                                                                  sit
                           of value     conflict is
                               value conflict            potentially more
                                                     is potentially      more acute            domestically in
                                                                                  acute - domestically              in terms of aa                            .1
                                                                                                                                                                  sit
                                                                                                                                                                  sit
                           (perceived) conflict between
                           (perceived)                 between Islamist and secular secular values,             globally in
                                                                                                         and globally
                                                                                               values, and                       termns •,,
                                                                                                                             in terms                             PC
                                                                                                                                                                   P C


                                    (perceived) clash
                           of the (perceived)                 between Western and Muslim countries. But
                                                      clash between                                                        But eveneven 1p
                           among this      group, al
                                     this group,                    appeal is
                                                         Qaeda's appeal
                                                      a] Qaeda's                  limited
                                                                               is limited                                                   0,                    E
                                                                                                                                                                  Et
                                                  marginalization and value conflict notwithstanding,
                              Significantly, marginalization                                       notwithstanding, a num- '   a num-                             T
                                    well-established
                           ber of well-established          political
                                                            political    and    civil  outlets
                                                                                       outlets    exist   for
                                                                                                         for    those
                                                                                                               those     seeking
                                                                                                                         seeking       to
                                                                                                                                       to     ,.                  an
                                                                                                                                                                  an
                           reform the     system or become
                                     the system           become personally                           increasing, though
                                                                                      activt An increasing,
                                                                      personally active                                though still                               eevv
                                                                                                            in politics                  a         fi
                                                                                                                                                   11             aan
                                        small, number of Muslims
                           relatively small,
                           relatively                             Muslims has been successful
                                                                                            successful in       politics" while a
                                                                aimed    at  improving       the  lot  of  European        Muslims.
                                                                                                                           Muslims.           IP4                  to
                                                                                                                                                                   to
                           plethora of charities
                                           charities exist                                        lot of European
                                      slow    in  response,            governments
                                                                      governments         have
                                                                                          have   made
                                                                                                 made     some
                                                                                                         some     efforts
                                                                                                                   efforts    at
                                                                                                                             at   comD-
                                                                                                                                 com-                              se
                                                                                                                                                                   sel
                           Though
                           Though slow in         response,    most
                                                                                          alternatives are
                                                                            (limited) alternatives
                                                              As such, (limited)                                  available
                                                                                                            are available to al . to    al                         set
                                                                                                                                                                   se
                                     marginalization. As
                           bating marginalization.
                                                                                politically   ineffective     or  believe     the
                                                                                                                              the   sys-
                                                                                                                                    sys-                           us.
                                                                                                                                                                   us
                                      strategies for those who feel politically ineffective or believe
                           Qaeda's strategies
                           Qaeda's
                           tem to be     unresponsive.
                                    be unresponsive. In      In  this,  the
                                                                        the   presence
                                                                              presence     of
                                                                                           of  moderate
                                                                                               moderate      Islamist
                                                                                                             Islamist      organiza-
                                                                                                                          organiza-                                  h
                                                                                                                                                                   ihi
                                                               Association of Britain
                                                    Muslim Association                         (MAB), and         their perceived
                                                                                                            and their     perceived                                thi
                           tions such as the Muslim                                  Britain (MAB),                                           .,,


                                         affecting voting
                           success in affecting
                           success                              outcomes,"7 are vital in
                                                       voting outcomes,"                          neutralizing the
                                                                                              in neutralizing        the appeal of                    1VO vo
                                                                                                              by    the  (apparent)
                                                                                                                         (apparent)                                vi(
                              Qaeda as these organizations
                           al Qaeda                 organizations cater to      to those disillusioned
                                                                                           disillusioned by
                                                                         88                                                                                        fat
                                                               options.
                           inefficacy of non-Islamist options.BB
                           inefficacy
                                                                                                  organizations catering
                                                                                 embedded organizations                 catering to     to                          lai
                                     existence of well
                              The existence
                              The                        well-established,
                                                              -established, embedded
                           Muslims in  in Europe and abroad abroad also means that     that al
                                                                                             a] Qaeda faces fierce         competi-
                                                                                                                  fierce competi-                                   se
                                                                                                                  integrated into                                   set
                           tion Because              majority of these
                                  Because the majority               these organizations
                                                                              organizations are highly  highly integrated           into                            be
                                                                                                                                                                    be
                           society, including European Islamist organizations,
                           society,                                               organizations, and run by Muslims         Muslims                    I
                                    post-migrant outlook and an acute awareness
                           with a post-migrant                                         awareness of both the possibilities                                4
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                                                                                                                                                                     K
                                                                                                       Terrorism, charities,
                                                                                                       Terrorism, charities, and diasporas 109
                                                                                                                                 diasporas 109
    experience both
    experience   both personal and and             and
                                                   Sod thethe shortcomings
                                                               shortcomings of           the local
                                                                                     of the    local political
                                                                                                       political system,
                                                                                                                   system, they
                                                                                                                             they are are likely
                                                                                                                                           likely to be vigil-
                                                                                                                                                            vigil-
   luslirn households
  luslim   households areare allegedly
                             alleged ,             ant   against    those    advocating         a  radical
                                                   ant against those advocating a radical break with          break   with   their    host   societies. How-How-
  iploymnent   among British Mus,
  iployment among                Mus.              * these
                                                   ever,   these organizations
                                                                   organizations may also be             be less vigilant
                                                                                                                   vigilant against those advocatingadvocating
  .ional  average. Meanwhile, eda.
   ional average.                 edu,             support
                                                   tujpport    for
                                                               for   resistance
                                                                     resistance      struggles
                                                                                      struggles     abroad
                                                                                                    abroad     (particularly
                                                                                                               (particularly     if  they    have    adopted a
                                                                                                                                                     adopted
   rt, is only 5 percent
                  percent below
                            below the              se lf-consciously
                                                   self-conIsciously       "Islamic"
                                                                           "Islamic"       identity,
                                                                                           identity,    increasing
                                                                                                        increasing    affinity
                                                                                                                      affinity   with
                                                                                                                                with     the  plight
                                                                                                                                              plight        Mus-
                                                                                                                                                        of Mus-
                      achievement.2
  expectation and achievement.t2                   lims worldwide).
                                                   uWis                      Available evidence
                                                           worldwide). Available             evidence suggests         that affinity
                                                                                                           suggests that     affinity with the    the Muslimi
                                                                                                                                                        Muslim
 far below the representation
                   representation ofof             Wilmna, or global
                                                  soma,            global community,
                                                                              community, is        is most
                                                                                                       most typically
                                                                                                               typically translated
                                                                                                                            translated into charitable
                                                                                                                                                     charitable
 3ritain and in the Netherland&.
                        Netherland&                              (donations        to   relief   organizations,
                                                  aactivities (donations to relief organizations, fundraising)
                                                     ctivities                                                       fundraising) or political action
 :; and educational
          educational marginaliza.
                         marginaliza.             (awareness-raising,
                                                   (aWarenessraising, lobbying,                  electioneering) -— rather
                                                                                lobbying, electioneering)               rather than
                                                                                                                                  than raising
                                                                                                                                          raising funds for   for
       society (see,
 im society    (see, for  example, Wl
                     for example,   al            overtly terrorist
                                                  overtly                 acts abroad.
                                                             terrorist acts      abroad. This helps to explain   explain why al Qaeda Qaeda sympathizers
                                                                                                                                                sympathizers
     continue to feel aggrieved
 y continue             aggrieved onon            have    typically raised funds under false pretence89
                                                   have typically                                           pretence"9 (and why the charities fund-
                                                         Hamas appear
                                                  ing Hamas
                                                  ing               appear to   to limit      their funding
                                                                                     limit their      funding to  to the
                                                                                                                      the humanitarian
                                                                                                                           humanitarian realm,    realm, even
  enation hinges, at least within                 if this
                                                      this term           stretched by involving
                                                             term is stretched                  involving funding
                                                                                                              funding for the families of suicide        suicide
       value threat,
   of value   threat, which in tura  turn         bombers)
                                                  bombers)
   ity Those
  ity.  Those who, in response
                           response to                Finally, even to those radical       radical Islamists who feel acutely       acutely alienated,
                                                                                                                                                alienated, al
  wve adopted a self-consciously
  we                 self-consciously             Qaeda's program may
                                             * Qaeda's                       may not necessarily
                                                                                             necessarily seem appealing.
                                                                                                                     appealing. For al Qaeda    Qaeda to   to be
      outlook, 4 do not inevitably
  n outlook,"                                    attractive,
                                                  attractive, they have  have to feel comfortable
                                                                                            comfortable with a takfiri lakfiri perspective,
                                                                                                                                perspective, aa response
                                                                                                                                                      response
  ieir
  ten- basic politicized     values and
              politicized values                 more suited
                                                 more      suited to those residing
                                                                                  residing in overwhelmingly
                                                                                                   overwhelmingly Muslim Muslim societies
                                                                                                                                      societies in the pro-
   in the fact that 67 percent
                            percent of                      secularization (which poses
                                                 cess of secularization                       poses a more acute         threat to their Muslinm
                                                                                                                 acute threat                 Muslim iden- iden-
                survey felt patriotic
  ioned 2002 survey
 coned                         patriotic     * tity than the    the relatively
                                                                      relatively disinterested
                                                                                      disinterested non-Muslim
                                                                                                          non-Muslim secular
                                                                                                                           secular societies
                                                                                                                                        societies in which
  iational average).
 rational               According to
            average). According                  European         Islamists live).
                                                 European Islamists                       They must also feel
                                                                                 live). They                      feel comfortable
                                                                                                                        comfortable with a radically  radically
   )ean Muslims
 )ean    Muslims is not likely likely to                    strategy, both internationally
                                                 violent strategy,                internationally and    and domestically,
                                                                                                               domestically, and with   with the     repercus-
                                                                                                                                               the repercus-
   European Islamists,
                Islamists, the sense             sions such a strategy will provoke.       provoke. Such Such a strategy
                                                                                                                    strategy is is more attractive
                                                                                                                                             attractive in a
  —- domestically in terms of a                 situation where a large Muslim           Muslim constituency            exists with a revolutionary
                                                                                                      constituency exists                     revolutionary
  ar values, and globally
                   globally in terms            potential.
                                                 potential. In Europe,                       constituency does
                                                                     Europe, such a constituency                does not exist
 dd Muslim      countries. But even
      Muslim countries.                              The ideology
                                                     The    ideology of the      the larger, more moderate   moderate Islamist
                                                                                                                           Islanmist organizations
                                                                                                                                         organizations in
1                                            * Europe
                                                Europe is    is typically           pragmatic and accommodating
                                                                typically too pragmatic                    accommodating to engage                  terrorism.
                                                                                                                                     engage in terrorism.
         notwithstanding, a num-
 nflict notwithstanding,                        Their      preferred methods
                                                Their preferred            methods are    are education,         awareness-raising,
                                                                                                 education, awareness                       electioneering,
                                                                                                                              -raising, electioneering,
                   those seeking
   lets exist for those
[lets                       seeking to          and
                                                and lobbying.
                                                        lobbying. They also     also tend
                                                                                        tend not to   to divide the world starkly into good         good and
 ye. An increasing,
           increasing, though
                          though still
                                     still      evil.
                                                evil. The      ideology of the more
                                                        The ideology                    more radical
                                                                                                  radical organizations
                                                                                                            organizations such such as Hizb ut-Tahrirut-Tahrir
                   politics86 while
   successful in politicsR6
   successful                   while a         and
                                                and al  a] Muhajiroun,
                                                            Muhajiroun, is better suited to                 employing terrorist
                                                                                                        to employing      terrorist means. They tend
, the lot of European Muslims Muslims           to
                                                to divide
                                                      divide the world starkly into good           good versus
                                                                                                           versus evil
                                                                                                                    evil and
                                                                                                                         and seek to distance
                                                                                                                                            distance them-
                                                                                                                                                         them-
iave
lave made some       efforts at com-
               some efforts        coml-        selves from corrupt society.  society. LikeLike al a] Qaeda,
                                                                                                      Qaeda, they operate
                                                                                                                       operate within a takfiritakfiri mind-
                                                                                                                                                         mind-
 Iternatives are
 ,Iternatives        available to
                are available          al
                                   to a]       set.
                                               set. "Al muhajiroun,"
                                                              muhajiroun," for example,   example, means means "the"the migrants"
                                                                                                                          migrants" and   and the      termn is
                                                                                                                                                 the term     is
                     believe the sys-
     Ineffective or believe
 Yineffective
!y                                             used          takfiri circles
                                                used in takfiri         circles to denote withdrawalwithdrawal from society. But even                  among
                                                                                                                                               even among
      moderate Islamist organiza-
of moderate                  organiza-       * these takfiri
                                                          takfiri groups,
                                                                   groups, not  not allall unequivocally
                                                                                            unequivocally support violent  violent struggle,
                                                                                                                                       struggle, let let alone
                                                                                                                                                          alone
 in (MAR), and  and their perceived
                             perceived         the use of terrorist
                                                                  terrorist means.           The    British
                                                                                means. The British branch      branch    of   Hizb     ut-Tahrir,
                                                                                                                              Hizb ut-Tahrir, though   though
itiin                        appeal of
        neutralizing the appeal
     in neutralizing                           vociferous in its condemnation
                                               vociferous                 condemination of        of Western
                                                                                                      Western society, has          thus far
                                                                                                                             has thus           condemned
                                                                                                                                           far condemned
 disillusioned by the (apparent)
disillusioned              (apparent)        * violence
                                               violence and   and refrained
                                                                    refrained from  from using
                                                                                             using itit 90
                                                                                                         " The   Arab European
                                                                                                            The Arab     European LeagueLeague has        simi-
                                                                                                                                                    has simi-
                                               larly refrained from advocating    advocating violence.
                                                                                                    violence. Al      Qaeda thus
                                                                                                                  Al Qaeda               appears to
                                                                                                                                 thus appears              have
                                                                                                                                                      to have
 led
 led organizations    catering to
       organizations catering                  largely
                                               largely failed to convinceconvince politically
                                                                                         politically alienated
                                                                                                         alienated European
                                                                                                                      European Muslims,
                                                                                                                                     Muslims, including
                                                                                                                                                   including
ti al Qaeda faces fierce competi-
                         competi-              most Islamists,         that its
                                                         Islamists, that      its strategies
                                                                                   strategies will will effectively
                                                                                                        effectively "reduce
                                                                                                                      "reduce or  or reverse"
                                                                                                                                      reverse" bothboth their
                                                                                                                                                          their
                               into
                  integrated into              sense of
                                               sense      of being     threatened        in  their   core    values
                                                             being threatened in their core values and their sense of and  their     sense   of the
                                                                                                                                                 the system
                                                                                                                                                       system
ions are highly integrated
rations, and run by
tations,                 Muslims
                     by Muslims                being unresponsive
                                               being      unresponsive to their   their needs.
 reness of both the possibilities
 reness               possibilities .
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                            110
                            110     .JeroenGunning
                                    Jeroen                                                                                                   i


                            Al Qaeda's future in EuropeW
                            Al                   Europe
                             Whether al       Qaeda's appeal among European
                                           a) Qaeda's                        European Muslims will increase is a fut..      fune. I              p
                             tion of a complex relationship
                             Lion                       relationship between        poorly understood
                                                                         between poorly       understood factors.
                                                                                                             factors. On  on thethe t,1
                             one hand, after 11    I I September,
                                                       September, President                  response and
                                                                       President Bush's response              the prospect of
                                                                                                        and the                  off11
                                                                                                                                              ICot
                             a fifth column in      in Europe's midst has      has given
                                                                                    given rise to increased         suspiciom ~
                                                                                                      increased suspicions
                                          Muslims in general,
                             towards Muslims             general, and     Muslim migrants
                                                                    and Muslim      migrants in particular.
                                                                                                   particular. On the the other                 Thi:
                             hand,                         particularly embedded European
                                       Muslims, and particularly
                             hand, Muslims,                                               European Muslims, have     have seenseenj             of
                                                                                                                                                Of c  C
                                                             increase.
                                                influence increase.
                             their political influence
                                                      unprecedented number of Muslims
                                     Britain, an unprecedented
                                In Britain,                                                                          political),
                                                                                          Muslims have been politically                         of C  c
                            galvanized                September and the war
                             galvanized by 1I I1 September                      war against Iraq      Unlike
                                                                                                Iraq Unlike      the   situati
                                                                                                                      srtuatina                  ngi
                             during the 1991  1991 Gulf War, Muslim activists                        themselves among
                                                                                 activists found themselves           among aa                   by I
                                                                                                                                                by
                                                                     left-wingers, and liberals
                                                      Christians, left-wingers,
                                       alliance of Christians,
                             broad alliance                                                                opposed the
                                                                                           liberals who opposed               warme
                                                                                                                        the war'                men
                            against Iraq and the war                    terror for very
                                                            war on terror             very similar reasons.
                                                                                                      reasons. The afore-  afore-               theseI
                            mentioned Muslim
                            mentioned                   Association of
                                              Muslim Association             Britain   is a  product   of this
                                                                                                           this new      climate                 to thto
                                                                         of Britain is a product of               new climiate
                                           together with other Muslim and non-Mushm
                            and has, together                                                          organizations, man.
                                                                                      non-Muslim organizations,             man-.               dope:
                                                                                                                                                 dp
                            aged to make its mark on British politics,
                            aged                                                                                  outcome of
                                                                                                affecting the outcome
                                                                              politics, even affecting                          of              to ga
                            municipal
                            municipal and national elections.91           1
                                                             elections." In these instances,
                                                                                       instances, Muslims have become   becomeilaf                    afl
                            visible and                                 themselves as full-fledged,
                                                                  see themselves                                   participant
                                                                                                           fully participant                    alterr
                                                                                                                                                 alteri
                                        and have come to see                               full-fledged, fully
                            citizens.i                                                                                                          fun&nd
                            citizens.
                                                                                                                                                of   the
                                it               certain which of the two trends
                                It is far from certain                            trends will prevail The The gains
                                                                                                               gains made in     in              aftrai
                                                                                                                                                     thel
                                                                                                                                                a
                            British local and and European elections             2003 and 2004
                                                                 elections in 2003                 were countered
                                                                                             2004 were    countered by only  only                based
                                                                                                                                                based
                                   Muslim winning a seat in the European Parliament
                            one Muslim                                                   Parliament (although
                                                                                                       (although four won                        chanit
                                                                                                                                                chant
                            seats in Britain's 2005          parliamentary elections)"
                                                      2005 parliamentary         elections) 92 The success
                                                                                                      success of the 2003                         Mj jt.
                                                                                                                                                can
                                           demonstrations in which Muslims played an
                            anti-war demonstrations                                                an important part was      was               -cru
                            nullified by the fact that the British
                            nullified                                British government,        supported by a two-third
                                                                               government, supported                 two-third                  cOneu
                                                                                                                                          I wrrn     Ouei
                           majority                         went to war nonetheless.
                                             Parliament, went
                            majority in Parliament,                          nonetheless. The de-securitizing
                                                                                                   de-securitizing effect of    offikt          links 1
                           the
                            the Charity       Commission's refusal to close down
                                  Charity Commission's                               down Islamic
                                                                                              Islamic charities
                                                                                                       charities on unsup- .                      eov
                                                                                                                                                revolve
                           ported      accusations from
                            ported accusations         from the US      Treasury has been
                                                                   US Treasury            been diluted by continued alle-
                                                                                                                                        •       Muslir
                                                 conjectural, from
                           gations, often conjectural,            from certain media outlets outlets about     charities and
                                                                                                      about charities        and                            f
                                                                                                                                               strict f
                           institutions with an Islamist
                           institutions                               bent."3 More recently,
                                                         Islamist bent."               recently, the July      2005 London
                                                                                                        July 2005                               tiss
                                                                                                                                                tries st
                            bombings appear to have both encouraged
                           bombings                                     encouraged dialogue and increasedincreased fear and  and                  ji '
                                                                                                                                                lions
                           suspicion The situation in the Netherlands
                           suspicion                                    Netherlands is much the same    same as the wildly                      suchh iii   lii
                           contradictory responses of both the
                           contradictory                                      public and the
                                                                         the public               government reveal,
                                                                                             the government       reveal, ran-             1 that
                                                                                                                                                that th   th
                           ging from        appeals for dialogue to fire bombs aimed at mosques
                                   from appeals                                                     mosques and calls for                       deeply
                                                                                                                                               deeply
                           the   withdrawal of citizenship
                           the withdrawal             citizenship from Netherlands-born             Muslims with radical
                                                                             Netherl ands-born Muslims                   radical                iafr
                                                                                                                                                takfirii
                           Islamist
                           Islamist views                         conviction "
                                                      criminal conviction
                                         views or a criminal                                                                                  cally m      m
                               It is similarly                         further marginalization
                                      similarly not certain that further         marginalization will lead to the   the adop-
                                                                                                                          adop-             :toto havehave
                           tion of a]  al Qaed   a-like tactics
                                           Qaeda-like              by European
                                                          tactics by                 activists. Further marginalization
                                                                        European activists.                 marginalizatioi                    tthe     ]eve
                                                                                                                                                uhnaeleikleea:
                                                                                                                                                            ve
                           could lead equally to an increase increase in criminalization,                      emergence of
                                                                            criminalization, nots, or the emergence             of            QdQaeda,
                              broad, united Muslim social
                           a broad,                         social movement.
                                                                     movement. A decrease            marginalization simi-
                                                                                       decrease in marginalization         S11111               unlike])ly
                                                                             eradication of radical groups. The
                                               inevitably lead to the eradication
                           larly does not inevitably                                                               The inclu-
                                                                                                                          inclui-            land
                                                                                                                                             l and bec    bec
                           sion of the more moderate  moderate and and successful
                                                                          successful Muslim        organizations into
                                                                                        Muslim organizations          into thethe             4 nd tim
                                                                                                                                            !and          tim
                                         system may
                           political system       may result iii     the emergence of violent fringe groups,
                                                                 in the                                      groups, just as                  itprojectsE
                                                                                                                                              its      Eur ti r
                           the cooptlon                 mainstream Communist Party into the Italian
                                 cooption of the mainstream                                                           political
                                                                                                            Italian political            j      projects
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                                                       *                                               Terrorism, charities,
                                                                                                       Terrorism, charities, and
                                                                                                                             anddiasporas
                                                                                                                                 diasporas 111
                                                                                                                                           Ill
                                                        of the
                                                    ern of
                                                 Ypteln    the 1970s
                                                                1970s led
                                                                      led to
                                                                          to an
                                                                             an increase                    radical lcft-wing
                                                                                increase in the violence of radical left-wing
   Muslims will increase is
  Muslims
irly
Jr-
                          is aa fuoo,
       understood factors. On
   1y understood
                                fiw '
                             on the
                                                p  ups       as the
                                                        such as
                                                    gussuch     the Red  Brigades."
                                                                    Red Brigades."

i's response
is   response and the prospc                               and policy
                                                               policy implications
                        prospect of of "„       Cocdusion and
                                                conclusion            implications
•n-n rise to increased
              increased suspicions
                         suspiciorA
rants in particular.
rants      particular. On the
                          the other
                                other          ej This     chapter has
                                                      his chapter     has shown
                                                                           shown that       contrary to
                                                                                      that contrary          sonme popular
                                                                                                         to some      popular narratives,
                                                                                                                                  narratives, the   the number
                                                                                                                                                          number
                                                    of  charities   thought     to  have   provided     funding      for
                                                                                                                      for either
                                                                                                                          either   al
                                                                                                                                   a]l   Qaeda
                                                                                                                                         Qaeda     or
                                                                                                                                                   or  Hamas is
                                                                                                                                                       Hamas      is
  European Muslims, have seen    seeia              of cfhaitie thought         to  have   provided     funding
                                                    relatively   small, and
                                                             wltvYsall,    and that
                                                                                  that there
                                                                                        there is      marked discrepancy
                                                                                                is aa marked      discrepancy betweenbetween the          number
                                                                                                                                                    the number
                                                                                   al Qaeda
                                                                                       Qaeda and  and the      number of    of those                    Hamas's
                                                                                                                                           funding Hamas's
 Muslims have been been politically
                         politicall         ''
                                                   of   charieties linked
                                                    of chanties      linked to to a]                     the number             those funding
  Onst Iraq. Unlike the situation                  military wing. I have
                                                _ .ihtary                                           provide an
                                                                                 attempted to provide
                                                                          have attempted                        an explanation
                                                                                                                    explanation for     for this discrepancy
                                                                                                                                                   discrepancy
 Unst                     situatiu                                                                    ideology, self-image,
 ts found themselves
is           themselves among
                         among aa                • hy    looking at
                                                    by looking       at each
                                                                         each organization's
                                                                                 organization's ideology,              self-image, histoncal
                                                                                                                                         historical develop-
                                                                                                                                                         develop-
                                                     Dnent,
                                                    ment,    and
                                                             and   relationship
                                                                   relationship      with   its  constituency.
                                                                                                 constituency         In  the  case      of Hamas, each   each of
1I liberals who opposed the war waT                                                                   organization from using charitable
                                                    these   factors was seen to inhibit
                                                    these factors                      inhibit the organization                             charitable fronts
                                                                                                                                                            fronts
 y similar
 y   similar reasons. The
                       The afore.
                              afore,
                                                                   acts of violence. Because
                                                        finance acts
                                                    to finance
                                                   to                                        Because HamasHamas is an embedded embedded organization
                                                                                                                                                 organization
                            climate
     product of this new climate
  a product
 n-Muslim organizations, man.  man.
                                                   dependent on         maintaining local
                                                                   on maintaining                 popular support,
                                                                                          local popular        support, and        because it has chosen
                                                                                                                             and because                   chosen
                                                   to gain this support          through building
                                                                    support through                          reputation for
                                                                                             building a reputation           for incorruptibility,
                                                                                                                                  incorruptibility, it can     can
                      outcome of
  yen affecting the outcome
  ven                             of
                                                   ill afford to be
                                                   .91               be seen
                                                                          seen toto embezzle        charitable funds. The ready availability
                                                                                     embezzle charitable                                        availability of
 stances, Muslims
            Muslims have become
                           become
                                                                   financial sources
                                                     lternative financial
                                                  aalternative                  sources enables               maintain a strict separation
                                                                                           enables it to maintain                       separation between
                                                                                                                                                         between
                       participant
   full-fledged, fully participant
  full-fledged,                                    fundraising
                                                   fundraisinig     for  charitable
                                                                         charitable      and   resistance ends.
                                                                                              resistance       ends. In the case of al        a] Qaeda,
                                                                                                                                                 Qaeda, none
                                                       the listed factors
                                                  of the                                         discourage it from
                                                                    factors particularly discourage                  from using
                                                                                                                             using charitable fronts. As        As
 will prevail.
will   prevail. The gains made in  in                                                            organization whose
                                                  a transnational,
                                                       traiisnational, un-embedded
                                                                            un-embedded organization                  whose power is not primarily
dd 2004 were countered
                 countered by only                               gaining a local support base, al
                                                             on gaining                                     a] Qaeda has little to                       abusing
                                                                                                                                         to lose by abusing
                                                  based on
 arliament (although four won
ornament                                                              terrorist     purposes.
                                                                                    purposes.     As    an    isolationist,
                                                                                                              isolationist, lakfiri          organization, itit
                                                                                                                                 lakfin organization,
                                                  charities for
                                                  charities
 s).92        success of the 2003
 s)." The success
                                                                                charities by claiming that these
                                                                    abusing charities
                                                  can justify abusing                                                   these charities are part of a
 layed an important part was                                      society with which
                                                  corrupted society
                                                  corrupted                                      Qaeda is
                                                                                    which al Qaeda         is at war.
       supported by a two-thud
 nt, supported            two-third                          explanation for why the number of European-registered
                                                      One explanation                                           European-registered charities   charities with
 LLThe de-secuntizing             of
          de-securitizing effect of                                 Qaeda has remained
                                                                a) Qaeda             remained so        small despite
                                                                                                    so small      despite the the lack of disincentives
                                                                                                                                                 disincentives
                                                  links to al
              charities on unsup-
 nn Islamic charities                             revolves around the apparent
                                                  revolves                                      dissonance between
                                                                                  apparent dissonance             between the  the views              European
                                                                                                                                       views of European
  -en diluted by continued
 ;en               continued alle-                Muslims and al
                                                  Muslims                  Qaeda's ideology and methods.
                                                                       a] Qaeda's                          methods. The presence presence of a relatively
                                                                                                                                                       relatively
             about charities
    outlets about    charities and                                                               compared to the lack of regulation in coun-
                                                                              (particularly compared
                                                  strict fiscal climate (particularly
                                                 stnct                                                                                                      coun-
  :ntly, the July 2005 London                             such as Saudi Arabia and Somalia) and the absence
                                                  tries such                                                                absence of historical rela-
  ogue and increased fear and                    tions with rich
                                                 tions            nch benefactors
                                                                         benefactors and their charities               (compared to the presence
                                                                                                         charities (compared                      presence of
  nuch the samesame as the wildly                                 elsewhere, such
                                                 such links elsewhere,                                     Arabia) also
                                                                                                 Saudi Arabia)
                                                                                  such as in Saudi                             play a role. But the fact
                                                                                                                        also play                             fact
        government reveal,
   the government      reveal, ran-              that the majority of Europe's                Muslims and their
                                                                                 Europe's Muslims                   their charitable         institutions are
                                                                                                                            charitable institutions
   ied at mosques          calls for
           mosques and calls                                 embedded in local communities
                                                 deeply embedded                          communities means   means that al     al Qaeda's
                                                                                                                                    Qaeda's isolationist,
                                                                                                                                                  isolationist,
   -born Muslims
   -born              with radical
           Muslims with                         iakfiri     ideology has
                                                 lakfiri ideology        has little to offer. Though                           Muslims may feel politi-
                                                                                                                European Muslims
                                                                                                  Though European                                          politi-
                                                cally marginalized,
                                                          marginalized, the vast majority, including                           Islamists, do not appear
                                                                                                        including most Islamsts,                          appear
  zation will lead to the adop-                 to have experienced
                                                              experienced the level of threat    threat to to their basic valuesvalues and identities
                                                                                                                                                 identities or  or
   ts Further margmalization
  ;ts.          marginalizatioll                the level of alienation from       from their own faith communitiescommunities needed to make           make a] al
                   emergence of
  n, riots, or the emergence
  n,                          of                Qaeda's ideology
                                                Qaeda's                                    Consequently, because
                                                                            attractive. Consequently,
                                                               ideology attractive.                                           recruitment in Europe
                                                                                                                 because recruitment                  Europe is  is
   ase in marginalization simi-
       m marginalization   Siimi-               unlikely to provideprovide al a) Qaeda
                                                                                   Qaeda with a large  large pool of activists, at least for now,
  f radical groups. The inclu-                  and because
                                                         because infiltration
                                                                     infiltration intointo existing
                                                                                            existing Islamic
                                                                                                        Islamic charities is likely to             be difficult
                                                                                                                                               to be     difficult
   lim organizations   into the
        organizations into                               time-consuming, the
                                                and time-consuming,                     most    cost-effective      option     for  al    Qaeda     is to
                                                                                                                                                        to focus
                                                                                  the most cost-effective                                 Qaeda is          focus
   olent  fringe groups, just as                its European           activities on
                                                       European activities           on gaining
                                                                                          gaining recruits
                                                                                                      recruits who who can carry  carry out out its
                                                                                                                                                  its terrorist
                                                                                                                                                        terrorist
   ty into the Italian political                Projects
                                                projects relatively         undetected, and
                                                              relatively undetected,         and to    raise funds
                                                                                                    to raise             through different
                                                                                                                funds through                      channels.96
                                                                                                                                       different channels."
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                               112
                                112 Jeroen
                                     Jernen Gunning
                                            Gunning
                                    Beyond
                                     Beyond these  these empirical           observations, aa number
                                                             empincal observations,                    number of   of lessons
                                                                                                                        lessonscani  can be  bedtta
                               from
                                 fromthe  theabove         analysis.      First,    the    fact  that
                                                 above analysis. First, the fact that differences inin organization
                                                                                                        differences          organizationj4•
                               logy,
                                 logy,andandhistory
                                                 historyappear
                                                             appeartotoshape shapethe   theway
                                                                                             waycharities
                                                                                                    chantiesare  areapproached
                                                                                                                       approachedufldeW    uncle
                               the      importance of
                                 the importance              of adopting
                                                                   adopting aa more               differentiated approach
                                                                                        more differentiated            approach toto 1311      Is] • wv
                                 organizations more
                               organizations             more generally,
                                                                    generally, and               organizations labelled
                                                                                     and toto organizations            labelled "terror:
                                                                                                                                     "terrorist
                               particular.
                                 particular. Of     Of particular           importance isis the
                                                          particular importance                     the level
                                                                                                          level ofof embeddednieS
                                                                                                                        embeddedness       S o0  or
                               organization
                                 organizationinin question question and   and the       impact of
                                                                                  the impact       ofthis
                                                                                                       this embeddednes
                                                                                                             embeddedness        s ononthe the •
                               ization's        ideology, structure,
                                 ization's ideology,           structure, and           practices. AA related
                                                                                 and practices.            related issue
                                                                                                                      issue concerns
                                                                                                                               concernsthe     the
                               terrorism
                                 terrorism isis used              designateentire
                                                      used totodesignate                     organizations engaged
                                                                                  entire organizations           engagedinin terrorist
                                                                                                                                    terrorist
                                 regardless of
                               regardless               whether the
                                                   of whether               bulk of
                                                                      the bulk             their activities
                                                                                      of their    activities isis terrorist.
                                                                                                                    terronst. Not   Not only-,
                                                                                                                                           only.
                                 thispractice
                               this     practice obscure            our    understanding
                                                       obscure our understanding of                of the
                                                                                                       the organization
                                                                                                             organization inin questio,uso
                               itit also    serves to
                                    also serves            delegitimize the
                                                       to delegitimize                otherwiselegitimate
                                                                                the otherwise        legitimate social
                                                                                                                    social reform
                                                                                                                               reform asp  asp
                               such      organizations as
                                such organizations               as well
                                                                      well as      all forms
                                                                              as all     forms of of resistance,
                                                                                                       resistance, eveneven those
                                                                                                                                those condcond,
                               according
                                according to                  rules of
                                                        the rules
                                                   to the                          Geneva Convention.
                                                                            the Geneva
                                                                       of the                   Convention. IfIf Schwartz's
                                                                                                                        Schwartz's theQ     thee
                                 political alienation
                               political        alienation has   has any       validity, such
                                                                        any validity,        such aa blanket
                                                                                                        blanket delegitimizati
                                                                                                                    delegitimization    on isis
                               to
                                to alienate
                                     alienate the         constituencies
                                                    the constituencie        s one           trying toto win
                                                                                  one isis trying          win over
                                                                                                                 over andand decrease
                                                                                                                                 decreasess
                                responsiveness,
                               responsivene                        increasing the
                                                           thus increasing          the attractiveness
                                                                                           attractiveness of unconventional fo                            it•
                                                     ss, thus                                                 of unconventional fo                   -
                               warfare.
                                warfare. The            delegitimization
                                                The delegitimizat         ion of   of social
                                                                                        social welfare       activities in
                                                                                                  welfare activities        in particulai,
                                                                                                                                 particular,
                               cially         accompanied by
                                wally ifif accompanied                by the     freezing of
                                                                          the freezing        of charitable
                                                                                                   charitable assets,             likely totod~
                                                                                                                  assets, isis likely
                                                          suffenng as
                                              human suffering            asitit has
                                                                                 hasalready
                                                                                       already donedone in in Palestine"
                                                                                                              Palestine97  7
                               bute
                                bute to tohuman                                                                                - which
                                                                                                                                   which siiis
                                        increase the
                                may increase
                               may                           attractiveness of
                                                       the attractiveness           of unconvention
                                                                                         unconventional         forms of
                                                                                                            al forms      of warfare,
                                                                                                                              warfare.
                                    Second,
                                     Second, the          grounds on
                                                    the grounds                which the
                                                                         on which          the Stichting
                                                                                                Stichting alal AqsaAqsa has  has beenbeen iin             .t
                                raises important
                               raises                        questions about
                                           important questions               about what  what exactly
                                                                                                 exactly constitutes
                                                                                                            constitutes "financing
                                                                                                                              "financing
                                ism."If
                               ism."                          primary crime
                                                   Aqsa'sprimary
                                          If alal Aqsa's                    crime has  has been
                                                                                             been providing
                                                                                                    providing moneymoney toto thef  the f ***i•••,
                                          responsible for
                                those responsible
                               those                         for suicide       operations,itit is
                                                                   suicide operations,              isquestionable
                                                                                                       questionable whetherwhethersuch   such
                               constitutes                           terronsm -- although
                                                    financing terrorism
                                constitutes financing                                    although the  the act
                                                                                                             act itself
                                                                                                                  itself raises
                                                                                                                           raises anu a num • .
                               ethical                  More broadly,
                                             issues. More
                                ethical issues.                   broadly, ifif a European-reg
                                                                                       European-registered            charity donates
                                                                                                         istered charity           donates
                               to
                                to aa charity
                                        charity that  that isis loosely      affiliated with
                                                                 loosely affiliated          with anan organization
                                                                                                         organization engagedengaged in     in
                               ism,
                                ism, does
                                        does such such an an act      constitute "financing
                                                               act constitute          "financing terrorism"?
                                                                                                        terrorism"? IsIs itit sufficient
                                                                                                                                   sufficient
                               "associated"
                                "associated" with      with anan organization
                                                                    organization that     that carries
                                                                                                carries out
                                                                                                          out terrorist
                                                                                                                terrorist actsacts toto bebe   ell
                                                                                                                                                               •
                                                                          terronsm"?
                                                        "financing terrorism"              9 What exactly constitutes "ass
                                the charge
                               the     charge of   of "financing                             What exactly constitutes "ass                   111 ;


                               Given the
                               Given               potential for
                                            the potential               human suffering
                                                                  for human          suffering ifif aa charity
                                                                                                         charity is  is closed
                                                                                                                        closed down down
                                potential for
                               potential               radicalization if itit isis closed
                                                 for radicalization                       closed down
                                                                                                   down on   on dubious         grounds, s
                                                                                                                 dubious groundss
                               rules on
                               rules     on what                         "financing terrorism"
                                                        constitutes "financing
                                              what constitutes                              terrorism" and  and what      constitutes
                                                                                                                 what constitutes
                                                                              98
                                for such
                               for             claims are
                                      such claims         are advisable.
                                                                advisable.98
                                    A related
                                        related issue          concerns the
                                                      issue concerns           the fact
                                                                                      fact that     the evidence
                                                                                             that the                   against the
                                                                                                          evidence against           the Si S
                               al Aqsa
                               al    Aqsa was,  was, for       perfectly legitimate
                                                         for perfectly         legitimate intelligence             reasons, only
                                                                                                intelligence reasons,             only sh •
                               the                presiding over
                                      judge presiding
                               the judge                          over thethe Stichting's
                                                                                 Stichting's appeal
                                                                                                  appeal against         closure. Bec
                                                                                                             against closure.          Beca
                               Stichting
                               Stichting was            deprived       of  a  chance       to challenge
                                                was deprived of a chance to challenge the accusations, this  the  accusations,         this   I r


                               arguably served
                               arguably         served to       render its
                                                            to render       its closure
                                                                                 closure more more contentious
                                                                                                      contentious and    and thusthus p
                               radicalizing. This
                               radicalizing.                   highlights the
                                                       This highlights           the importance
                                                                                        importance of devising devising more more trili trap'
                               procedures,
                               procedures, an        an issue     taken up
                                                         issue taken        up iii    more detail
                                                                                 in more      detail in Chapter
                                                                                                           Chapter 11        of this
                                                                                                                        I1I of           vol
                                                                                                                                 this volli
                                    A third set of lessons
                                    A                       lessons can can be      drawn from
                                                                               be drawn                differences in the
                                                                                              from differences             the wayway thethe
                                       Dutch governments
                               and Dutch
                               and                 governments Monitor   monitor suspect                         producing funda
                                                                                                   chanties, producing
                                                                                        suspect charities,                         fundam
                               different        outcomes. In
                               different outcomes.                     Britain, the
                                                                  In Britain,                      investigating an accused
                                                                                     the body investigating                  accused ch• •
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                                                                                                                        Terrorism, charities, Qnd
                                                                                                                        Terrorism, clarities,     diasporas 11
                                                                                                                                              and diasporas 1133
nber
   nber of  of lessons
                lessons can  can be  be drawn
                                          draws                                   Commission This
                                                                    Charity Commission
                                                              the Chanty
                                                            the                                                    Commission is
                                                                                                           This Commission               is an      independent branch
                                                                                                                                             an independent                   branch of   of
rerences
  ferences inin organization,
                     organization, idea.    idea-             government          responsible for
                                                               ,,,,erment responsible                 for both
                                                                                                            both defending
                                                                                                                     defending the    the interests
                                                                                                                                            interests of     of British
                                                                                                                                                                   British charities
                                                                                                                                                                                 charities
ties
  ties are
         areapproached
               approachedunderline,underline&                       regulating them It alone has the authority to instigate an                                   an inquiry
                                                                                                                                                                       inquiryand  and to to
                                                             and rgulating them It alone has the authority to instigate
                                                             tod                                                                                99
 itiated
   itiated approach
                approach to      to Ilainist
                                       Islanaisj             decide on         the    type     of    sanction       to   impose,       if
                                                                         on the type of sanction to impose, if any. As such, the Charity   any.99      As      such,       the    Charity
                                                            dwcde
  rations labelled
rations                      "terrorist" jj4
               labelled "terrorist"                          c ommission serves
                                                            Comimission            serves as  as aa buffer
                                                                                                        buffer between
                                                                                                                  between the          political pressures
                                                                                                                                 the political                            surrounding
                                                                                                                                                       pressures surrounding
-vel
 :.vel of of embeddednes
                embeddedness        s of of thethe           the   government           and     the    charities,
                                                            the government and the charities, and typically            and    typically      attempts
                                                                                                                                            attempts            to
                                                                                                                                                               to    find
                                                                                                                                                                    find         solution
                                                                                                                                                                             aa solution
    embeddedne
     embeddedness       ss on     the organ,
                             on the     organ,.                     doesnot
                                                             that does
                                                           thiat                   result in
                                                                            not result       in the
                                                                                                 the closure
                                                                                                        closure of         charitybut
                                                                                                                    ofaa charity       but inin its
                                                                                                                                                  itsreform.
                                                                                                                                                        reform)99          Because the
                                                                                                                                                                     100 Because        the
 -elated
 •elated issueissue concerns
                        concerns the  the wayway                            recognize that
                                                             charities recognize
                                                           charities                         that the        Commission's
                                                                                                      the Commission                purpose isis to
                                                                                                                               's purpose                to both
                                                                                                                                                               both regulate
                                                                                                                                                                          regulate and and
:)fl                        terrorist acts,..
         engaged inin terrorist
 ons engaged                              acts —                        them, crises
                                                             defend them,
                                                           defend                                  more readily
                                                                                            are more
                                                                                   crises are                readily averted,
                                                                                                                        averted, and        charities are
                                                                                                                                     and charities           aremore           willing to
                                                                                                                                                                    more willing          to
 eses -is
        is terrorist.
            terrorist. Not         only does
                            Not only        does                                ensure       transparency
                                                             yoluntanly ensure transparency than would be the
                                                            .0.1-ntaflly                                            than     would      be    the casecase ifif the  the onlyonly tools
                                                                                                                                                                                     tools
   organization in
 organization                question, but
                          in question,        but           availablewere
                                                           available                police investigation
                                                                           were police         investigation,                    surveillance, or
                                                                                                                      covert surveillance,
                                                                                                                   , covert                            or legal
                                                                                                                                                            legal proceedings.
                                                                                                                                                                       proceedings.
 -mate                            aspects of
                       reform aspects
            social reform
   mate social                                  of                         Netherlands,
                                                                     the Netherlands,
                                                                 In the
                                                                In                                 the
                                                                                                  the     government
                                                                                                         government          carries
                                                                                                                             carries     out
                                                                                                                                        out    investigations
                                                                                                                                                investigations,          , often
                                                                                                                                                                             often with
                                                                                                                                                                                      with
 stance, even
stance,                 those conducted
               even those        conducted                   the   help    of   intelligence
                                                           the help of intelligence                 services
                                                                                                    services     (AIVD),
                                                                                                                (AIVD),          making
                                                                                                                                 making       it
                                                                                                                                             it    easier
                                                                                                                                                 easier        for
                                                                                                                                                               for    the
                                                                                                                                                                      the    process
                                                                                                                                                                              process    to
                                                                                                                                                                                          to
 Lion. If
tion.           Schwartz's theory
            If Schwartz's          theory of   of                         politicized and
                                                             become politicized
                                                           become                            and antagonistic.
                                                                                                     antagonistic. Because Because authority
                                                                                                                                          authority rests    rests withwith the  the gov-
                                                                                                                                                                                      gov-
 nket delegitimizat
nket       delegitimization   ion isis likely
                                          likely            erment, the
                                                           ernment,                 Ministers are
                                                                             the Ministers            are regularly          questioned in
                                                                                                             regularly questioned               in Parliament
                                                                                                                                                      Parliament over         over their
                                                                                                                                                                                     their
 yin over
vin      over and        decrease system
                 and decrease          system              decisions       concerning charities,
                                                            decisionsconcerning                                providingboth
                                                                                               charities, providing                     Ministers and
                                                                                                                                both Ministers                    opposition poli-
                                                                                                                                                          and opposition             poli-
;s;s of
      of unconvention
          unconventional       al forms
                                    forms of   of                          ready platform
                                                            ticians aa ready
                                                           ticians                   platform to      to score      political points
                                                                                                           score political         points on on the the backback of         the charity
                                                                                                                                                                       of the     charity
    activities in
   activities            particular, espe-
                   in particular,         espe-             debate. ItIt also
                                                           debate.                   increases the
                                                                             also increases                  likelihood that
                                                                                                       the likelihood          that opposition             politicians pressure
                                                                                                                                      opposition politicians                     pressure
Lble                     likely to
         assets, isis likely
 ible assets,                     to contri-
                                       contd.                             Ministers into
                                                            relevant Ministers
                                                           relevant                                             decisions on
                                                                                                   making decisions
                                                                                          into making                           on the     basis of
                                                                                                                                     the basis             political expediency
                                                                                                                                                      of political         expediency
                   7                                                                                                           verifiable evidence,
                                                                                                                                              evidence. In
i Palestine"
     Palestine'?          which similarly
                      -- which      similarly              rather than
                                                          lather       than simply          security concerns
                                                                               simply security             concerns or    or verifiable                                both the
                                                                                                                                                                 In both         the case
                                                                                                                                                                                     case
 al    forms of warfare
  al forms           warfare.                             of     Stichting al
                                                           of Stichting              Haramain and
                                                                                al Haramain             and of     Stichting a]
                                                                                                              of Stichting            Aqsa, there
                                                                                                                                  al Aqsa,       there seemsseems to          have been
                                                                                                                                                                         to have     been
          Aqsa has
.. alal Aqsa        has beenbeen indicted
                                     indicted              considerable political
                                                          considerable                           pressure, both
                                                                                  political pressure,                    domestic and
                                                                                                                both domestic           and international
                                                                                                                                                international,          , which
                                                                                                                                                                           which may may
                     "financing terror-
 -onstitutes "financing
 constitutes                           terror-             have     forced the
                                                           have forced                 government into
                                                                                 the government              into aa hastier
                                                                                                                        hastier or                       politically motivated
                                                                                                                                             more politically
                                                                                                                                     or aa more                              motivated
ling money
ling      money to              families of
                           the families
                       to the                 of           decision than
                                                          decision                 might have
                                                                          than might         have been                        responsibility for
                                                                                                               chosen ifif responsibility
                                                                                                      been chosen                                    for thethe case        could have
                                                                                                                                                                   case could        have
stionable whether
stionable         whether such such an  an act
                                             act          been
                                                           been     deferred
                                                                    deferred        to
                                                                                    to  aa  charity
                                                                                             chanty       commission."
                                                                                                           commission.1D1     i'   Moreover,
                                                                                                                                    Moreover,         had
                                                                                                                                                       had      the process been
                                                                                                                                                               the     process       been
 act itself
act                             number of
                  raises aa number
         itself raises                        of           conducted by
                                                          conducted                      commission simultaneous
                                                                               by a commission                 simultaneously      ly charged
                                                                                                                                         charged with                defending the
                                                                                                                                                          with defending               the
;tered charity donates money
;tered      charity      donates      money                                    charities, the
                                                           interests of charities,
                                                          interests                                   outcome might
                                                                                               the outcome           might have                  reform, thereby
                                                                                                                                        been reform,
                                                                                                                                have been                        thereby prevent-
                                                                                                                                                                                prevent-
;anization engaged
,anization          engaged in    in terror-
                                      terror-              ing the
                                                          ing           humanitarian and
                                                                  the humanitarian                                   costs of
                                                                                                        political costs
                                                                                               and political                       closing the
                                                                                                                              of closing      the charity
                                                                                                                                                      charity while while reducing
                                                                                                                                                                               reducing
 orism"? Is
-orism"?                 sufficient to
                 Is itit sufficient      to be
                                             be                   likelihood that
                                                           the likelihood
                                                          the                               charitable money
                                                                                    that charitable           money is       channelled into
                                                                                                                          is channelled                   terrorist activities.102
                                                                                                                                                into terrorist
it    terrorist acts
 it terrorist       acts to to be    open to
                                be open       to          The      government might
                                                          The government                might have   have mademade use  use of the         notion of
                                                                                                                                    the notion           of anan "accreditatio
                                                                                                                                                                    "accreditation      n
        constitutes "associated"?
  tly constitutes
 tly                        "associated"?                 seal,"    which      the   D)utch      Central
                                                          seal," which the Dutch Central Bureau on             Bureau      on    Fundraising
                                                                                                                                 Fundraising          has     already
                                                                                                                                                       has already developeddeveloped
arity          closed down
 arity isis closed         down and and the the           to    signal to
                                                          to signal             the public
                                                                           to the      public which           fundraising charities
                                                                                                   which fundraising              charities can  can be         trusted to
                                                                                                                                                           be trusted          to spend
                                                                                                                                                                                   spend
 on dubious
on                     grounds, stricter
        dubious grounds,             stncter             their      money on the
                                                          their money                                      specified103 -- aa policy
                                                                                            projects specified'
                                                                                     the projects                                  policy that,            handled sensitively,
                                                                                                                                             that, ifif handled            sensitively,
 nd what
nd              constitutes evidence
        what constitutes           evidence              is    likely to
                                                          s likely       to bebe similarly         welcomed by
                                                                                   similarly welcomed                by Hamas-affihia
                                                                                                                          Hamas-affiliated    ted charities              overseas. To
                                                                                                                                                       charities overseas.             To
                                                                fair, however,
                                                          be fair,
                                                         be            however, in                   cases the
                                                                                            both cases
                                                                                       in both                the AIVD
                                                                                                                    AIVD did         withstand the
                                                                                                                                did withstand                  political pressure
                                                                                                                                                         the political          pressure
         against the
idence against
idence              the Stichting
                         Stichting                                 considerable length
                                                          for aa considerable            length of        time, and
                                                                                                     of time,     and in in the    case of al
                                                                                                                             the case          al Aqsa
                                                                                                                                                    Aqsa would,would, according
                                                                                                                                                                            according
ice reasons,
tce
against closure.
igainst
                        shown to
                  only shown
      reasons, only
                     Because the
          closure. Because
                                 to
                                                     1    to one insider, have been prepared to consider reform if the charity
                                                         to     one   insider,     have     been     prepared       to  consider
                                                          more forthcoming in considering reform (which, if the investigating party
                                                         more       forthcoming            in   considering          reform
                                                                                                                                       reform
                                                                                                                                  (which,     if
                                                                                                                                                     if
                                                                                                                                                    the
                                                                                                                                                         the    charity had
                                                                                                                                                           investigating
                                                                                                                                                                              had been
                                                                                                                                                                                    been
                                                                                                                                                                                   party



                                                     I
 he accusations,
 he                  this practice
     accusations, this    practice                       had
                                                          had been             charity commission
                                                                   been aa charity          commission rather     rather thanthan the the intelligence
                                                                                                                                            intelligence services,services, might  might
~ntious         thus potentially
          and thus
:ntious and            potentially                       have
                                                          have beenbeen moremore readily          the    case).1'
                                                                                     readily the case).1D4
  devising more
  devising            transparent
              more transparent                                 Finally, ifif al
                                                               Finally,          al Qaeda's          dissonance with
                                                                                     Qaeda's dissonance                          European Muslims
                                                                                                                       with European              Muslims isis to        to bebe main-
                                                                                                                                                                                   main-
hapter 11        this volume.
         I I of this   volume.                           tained,        Europe's governments
                                                         tained, Europe's               governments must        must pay pay more          attention to
                                                                                                                                 more attention                    the needs
                                                                                                                                                              to the       needs and and
                                                         sensitivities of
                                                         sensitivities                      Muslim citizens.
                                                                                   their Muslim
                                                                              of their                                  These concern
                                                                                                           citizens. These         concern both  both the         foreign policies
                                                                                                                                                            the foreign

                                                     I
-ences
•ences  in  the
            the way    the British
                 way the   British                                                                                                                                              policies
                  fundamentally
    producing fundamentall
 s, producing                    y                       governments pursue,
                                                         governments                          bearing in
                                                                                 pursue, bearing                mind that
                                                                                                            in mind      that Muslim         citizens may
                                                                                                                                 Muslim citizens             may havehave different
                                                                                                                                                                               different
Ating an
;ating                  charity is
             accused charity
        an accused                                       loyalties than their governments in conflicts involving Muslims, and
                                                         loyalties       than     their    governments           in   conflicts     involving        Muslims,           and the     way
                                                                                                                                                                                the way
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                           Jeroen Gunning
                       114 Jeroen
                        governments allow Muslims
                        governments                                express their Islamic identity domestically. A
                                                  Muslims to express                                                           A
                        government should seek not merely
                        government                             merely to decrease the sense     sense ofof exclusion many                     jijusly
                                                                                                                                              tOU SIY
                        Muslims feel
                        Muslims      fee] by making the system more      more responsive (which includes includes a greater
                                                                                                                         greae         it 1
                                                                                                                                              trOUPf
                                                        structural problems
                        commitment to tackling structural                                 unemployment and exclusion
                                                                        problems of unemployment                     exclusion               port fc
                               education), but also on decreasing
                        from education),                          decreasing the perception of           of' value conflict.
                                                                                                                       conflict.       '     prnind
                                                                                                                                             provid
                        Some level
                        Some    level of value conflict             inevitable in
                                                    conflict is inevitable          in any democracy,
                                                                                             democracy, let alone one        one
                        consisting         multiple cultural
                        consisting of multiple        cultural communities.
                                                                    communities. But     But the state could be            mnore
                                                                                                                      be more      I       I the log
                                                                                                                                                   108
                                                                                                                                             'ertire
                                                                                                                                             entire
                        willing to accommodate
                       willing         accommodate religious
                                                         religious claims
                                                                        claims andand identities
                                                                                        identities in in the public arena,
                                                                                                                         arena.              rellgiocti
                                                                                                                                             ages
                                                                                                                                             ages   c(
                                would involve
                       which would                   rethinking of the concept of secularity.
                                          involve a rethinking                                                                                tion, 'A
                                             importance is
                          Of particular importance                                              Islamism. In the
                                                             is the state's attitude to Islamism.                 the current
                                                                                                                        current               does D n
                       climate,      mainstream politicians too readily characterize
                       climate, mainstream                                                  characterize Islamism as                          approO
                                                                                                                                              approa
                        incompatible with democracy.
                       incompatible                                                     accommodating forms, Islam.
                                                 democracy. Yet in its most accommodating                                Islam,               rehlgiol
                       ism isis compatible
                                compatible with democratic              practice. ItIt is vital to distinguish between
                                                      democratic practice.                                            between
                       different
                       different forms
                                    forms of Islamism
                                                Islamism and            recognize that some of them are not only
                                                            and to recognize                                               only
                        "acceptable" within
                       "acceptable"       within aa secular
                                                    secular context but vital to         to reducing
                                                                                            reducing the sense of value                       Notes
                       conflict felt by a significant number of Muslims. The Muslim              Muslim Association of        of               II air
                                                                                                                                                  arr
                                  (MAB) has empowered
                       Britain (MAB)               empowered British Muslims                       convincing them
                                                                                 Muslims by convincing             them that                    AWa
                                                                                                                                                Alas
                       the   (perceived) value conflict between them, the state, and society
                       the (perceived)                                                                        society is is not                2 "$U
                                                                                             channelling the energy
                                                                          succeeded in channelling                  energy of                    200'
                                                                                                                                                 200';
                                              Significantly, it has succeeded
                       insurmountable. Significantly,
                       insurmountable.                                                                                        of                 atta(
                                                                                                                                                 attar
                                young Muslims
                       angry young                          democratic avenues
                                          Muslims into democratic              avenues of protest,
                                                                                             protest, thereby
                                                                                                         thereby lessening
                                                                                                                     lessening                   Ben(
                       the sense of both personal and systemic   systemic inefficacy.        By doing so,
                                                                                inefficacy. By            so, it has helped                      nathc
                                                                                                                                                 natic
                           delegitimize al Qaeda and its
                       to delegitimize                                                                    charities such as
                                                                                  Similarly, Islamist charities
                                                              its methods. Similarly,                                                            Assc
                                                                                                                                                 Asse
                                                                   Development Fund) play a role in directing        directing                   Devi
                       Interpal    (Palestinian Relief and Development
                       Interpal (Palestinian                                                                                                     does
                                                                                                                                                 does
                                                                  Islamic European
                                            self-consciously Islamic
                       the concern of self-consciously                         European Muslims for the plight       plight of                 3 Seel
                                                                                                                                                 Seei
                                              humanitarian channels.
                       Palestinians into humanitarian                                organizations such as MAB
                                                                  channels, If organizations                       MAB and  and                  and
                                          demonized, al
                       Interpal are demonized,            a] Qaeda may become more attractive           attractive to dis-                       Tern
                       enfranchised       Muslims. At the same
                       enfranchised Muslims.                                        organizations such as MAB and
                                                                 same time, organizations                                                        Moa
                                                                                              accusations that some of
                                                                                    heed to accusations
                                                                                                                                                 2003
                                                                                                                                                 2003
                                              encouraged to pay greater heed
                       Interpal must be encouraged                                                                                               al-Q
                                                                                                                                                 al-Q.
                      the things they they advocate    (e.g regarding
                                            advocate (e.g      regarding suicide          operations in Israel),
                                                                               suicide operations           Israel), and the                     Of tI
                                                                                                                                                 of  ti
                                                 them, are offensive to
                                     advocate them,
                      way they advocate                                                                          community
                                                                                           members of the community
                                                                              to other members                                                   Eme
                                        Jews).
                             British Jews).
                      (e.g. British                                                                                                              D. 1I
                                                                                                                                                 D.
                                       approach isis particularly        imperative in the face   face of changes in the                         2000
                          Such an approach            particularly imperative                                               the
                                                                                                                                                 2000
                                                                                   recruiting. Having been hounded
                                                            appears to be recruiting_                                                            2000
                      way the a]  al Qaeda
                                       Qaeda network appears                                                                                   4 UN
                                                                                                                                                 UN
                                                          mosques it had infiltrated, its recruiters
                                         charities and mosques
                      from the few charities                                                          recruiters appear to    to                  w1
                                                                                                                                                 wwm
                      have
                      have moved into small,    small, private mosques, informal groups of disgruntled
                      youths, and onto the Internetinternet .- aa shift away away from      structures that are observ-
                                                                                     from structures                                             Con'
                                                                                                                                                 Cow
                                                             parallels patterns
                                       authorities. This parallels
                      able by the authorities.                             patterns in the financing               terrorism.
                                                                                                 financing of terronsin.                         Fina
                                                                                                                                                 Fina
                      able
                                                                                                                                                 mitt
                                            authorities now have to rely more than before
                      As a result, the authorities                                                before onon information
                                                                                                                information                      Prop
                                                       Islamist circles.
                                            frequent Islamist
                      from those who frequent                        circles_ For           cooperation to
                                                                                For such cooperation         to be possible,
                                                                                                                     possible,                   gets
                      European Islamists must,   must.be                                   governments have their best
                                                            persuaded that their governments
                                                       be persuaded                                                                                 F.]
                                                                                                                                                 to F,
                                       heart. This means
                      interests at heart.            means that European                           systems must become
                                                                                      domestic systems
                                                                       European domestic                              become                   5 The
                                                                                                                                                 The
                                                                                                                      Muslim                     detei
                                                                                                                                                 deter
                      more sensitive and inclusive,           and foreign policies may have
                                                 inclusive, and                                     have to take Muslim                          necet
                      concerns more explicitly into account and,
                      concerns                                                and, rather than focus primarily primarily on                      Inter
                                                                                                                                                 inter
                      suppressing terrorism,                                transforming the
                                        terrorism, focus also on transforming                        structures that help
                                                                                               the structures              help                  ofter
                                                                                                                                                 ofter
                              terrorism.
                      cause terrorism.                                                                                                           circii
                                                                                                                                                 circu
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                                                                                                                          charities, and diasporas
                                                                                                               Terrorism, charities,
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     Islamic identity
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nr               identity d omesticallY, A
                           domestically      A..'                     approach will
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;rease the sense
;rease          sense of exclusion
                           exclusion many
                                        mn                 lously    between financing        humanitarian networks
                                                                                 financing humanitarian                      affiliated with resistance
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,sponsive (which includes
;sponsive               includes a greater
                                      greater ,„           gups, and
                                                          groups,     and financing     terrorism. It
                                                                            financing terrorism.      It militates
                                                                                                         militates against   equating ideological
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ns of unemployment
         unemployment and    and exclusion
                                  exclusion '                     for   a  resistance   struggle    with  financing    terrorism
                                                          port for a resistance struggle with financing terrorism It cautions againstIt cautions    against
  the perception of value conflict,                        providing      undisclosed, and thus incontestable, evidence, and against using
                                                           ppovidiflS undisclosed, and thus incontestable, evidence, and against using
             democracy, let alone one
       any democracy,                                                       "crime by association." It similarly cautions against labelling
  in any                                                  th logic of "crime by association." It similarly cautions against
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 ies. But the  the state
                    state could
                           could be moremnom                       organization      "terrorist," instead favouring an approach that encour-
                                                          ectire organization "terrorist," instead favouring an approach
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Ind     identities in the public
and identities               public arena,
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ncept of secularity.                                      tion,  while clamping
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luslims by                      them that
                   convincing them
              by convincing                                    Alastair Finlan,
                                                                          Finlan, and Doug Stokes  Stokes for their insightful       comments,
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ropean Muslims for the plight of           of              3 See Adams on the PIRA's  PIRA's and the PLO's  PLO's financing              Napoleoni on the
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)licies                        MusliYU                                                                                                                               not
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